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 1               IN THE UNITED STATES DISTRICT COURT
 2             FOR THE SOUTHERN DISTRICT OF NEW YORK
 3                     INDEX NO. 19 CV 09755(VB)

 4

 5   CAROL MELTON,

 6                 Plaintiff,

 7   v.
 8   POUGHKEEPSIE CITY SCHOOL
 9   DISTRICT,
10                 Defendants .

11
12
13
14              DEPOSITION OF TIMOTHY WADE, Psy.D.

15                         APPEARING REMOTELY
16

17                 DATE TAKEN:             June 18, 2021
18                 TIME:                   9:47 a.m. - 3:15 p.m.
19                 JOB NUMBER:             195543
20

21
22

23                  Stenographically reported by:

24                           Luanne K. Howe

25        APPEARING REMOTELY FROM CUYAHOGA COUNTY, OHIO


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     1                               APPEARANCES                                                        INDEX OF PROCEEDINGS
                                                                                  2   WITNESS                                             PAGE
     2
                                                                                  3   REMOTll D8P0SIT10N OF TIMOTIIY WADE, Psy.o.
     3   RBMOTB APPllARANCBS,                                                     4   Exami nation by Mr . Carman                           s
 4
                                                                                  5   Examination by Mr. Rushfield                        185
                                                                                  6                        • .. . . . .      .. .
 5       On behalf of the Plaintiff,                                              7                            EXH I BI TS
 6            Robins Kaplan                                                       8   DESCRIPTION                                         PAGE
                                                                                  9   PLAINTIFF,
 7            399 Park Avenue                                                    10   Exhibit 1   Plaintiff's Notice of Deposition         14
 8            New York, New York         10022                                                    of Or. Timothy Wade
                                                                                 11
 9                  BY,     DERRICK CARMAN, ESQ.                                      Exhibit 2      Plaintiff ' s Notice of Deposition    14
10                                                                               12                  of Defendant Poughkeepsie City
                                                                                                     School District Pursuant to
11       On behalf of the Defendant,                                             l3                  Feder a l Rule of Civil Procedure
12            Shaw, Perelson, May        &   Lambert                                                 30 (b) ( 6)
                                                                                 14
13            21 Van Wagner Road                                                      Exhibit 3      Welcome back memo Bates stamped       41
14            Poughkeepsie, New York            12603                            15                  PCS00020 and PCS00021
                                                                                 16   Exhinit   4    Email exchange Bates stampe~          59
15                  BY,     MARK   RUSHFIBLO, ESQ.
                                                                                                     PCS00043 - PC600046
16                                                                               17
                                                                                      Exhinit 5      2020-2021 PCSO Health Check form      93
17
                                                                                 18
18                                                                                    Exhibit 6      Morse Stat! Health Check form        103
                                                                                 19
19
                                                                                      Exhibit   7    Char ges Against Ms. carol Melton    us
20                                                                               20                  Pursuant to Section 3020-a of the
                                                                                                     New York Education Law
21
                                                                                 21
22                                                                                    Exhibit   8    Email to Carol Mel t on from Or.     125
                                                                                 22                  Timothy Wade, dated 1-20-21
23
                                                                                 23   EXhibit 9      Board Resolution 21-174              127
24                                                                               24   Exhibit 10     Authorization tor the Use and        132
25                                                                                                   Disclosure of Protected Health
                                                                                 25                  Information
                                                                     Page 4                                                                      Page 5
 l                                   EXHIBITS                                     1                   THE REPORTER: Will counsel please
 2       DESCRIPTION                                          PAGE
                                                                                  2             stipulate that in lieu of formally swearing
 3       PLAINTIFF,
 4       Exhibit 11       Letter reaponae to Dr. Wade t:rom    138
                                                                                  3             in the witness, the reporter will instead
                          Betsy Combier, dated 2-16                               4             ask the witness to acknowledge that his
 5                                                                                5             testimony will be true under the penalties
         Exhibit 12     Email exchange, Subject, Set up    147                    6             of perjury, that counsel will not object to
 6                      appointment
                                                                                  7             the admissibility of the transcript based on
 7       Exhibit   13   Email to Carol Me lton from Or.    152
                        Timothy Wade , Subject, Suspending
                                                                                  8             proceeding in this way, and that the witness
 8                      Pay                                                       9             has verified that he is in fact Timothy
 9       Exhibit 14     Email exchange, Subject, Medical 169                     10             Wade?
                          Director                                               11                   THE WITNESS: I am.
10
                                                                                 12                   MR. RUSHFIELD: Counsel for the
                   (Provided electronically to the
11                 reporter and marked thereafter.)
                                                                                 13             defendant will also stipulate.
12                                                                               14                   MR. CARMAN: Same for the plaintiff.
13                                                                               15                   THE REPORTER: Mr. Wade, do you hereby
14                                                                               16             acknowledge that your testimony will be true
15
                                                                                 17             under the penalties of perjury?
16
                                                                                 18                   THE WITNESS: I do.
17
18                                                                               19                      Tit,OTHY WADE, Psy.D.
19                                                                               20                   Of lawful age, being first duly
20                                                                               21             sworn, as hereinafter certified, was
21
                                                                                 22             examined and testified as follows:
22
23
                                                                                 23                            EXAMINATION
24                                                                               24   BY MR. CARMAN:
25                                                                               25             Q.     Good   morning.

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                                                      Page 6                                                       Page 7
 1       A.      Good morning.                                  1   cer t ified i ndividual s.
 2       Q.      Coul d you please state your name and          2         Q.    Okay . And how many t imes have you
 3   home address for t he r ecord?                             3   testified in either Section 75 or 3020-a
 4       A.      Timot hy Wade, 88 Serenit y Drive , Ruby,      4   proceedi ngs?
 5   New Yor k .                                                5         A.    Probably five or so.
 6       Q.      You have a doctorat e , correct?               6         Q.    And I believe you mentioned t hat both
 7       A.      I do .                                         7   of those ar e disciplinary-s tyl e pr oceedings; is
 8       Q.      So if I refer to you as Dr. Wade,              8   that correct?
 9   would that be fine?                                        9        A.     It is correct .
10       A.      Yes.                                          10         Q.    Would those be cases where you're
11       Q.      All right. Dr. Wade, have you ever            11   seeking to terminate an employee?
12   been deposed before?                                      12        A.     Where t he district is seeking to
13       A.      Only i n Section 75 hearings, 3020- a         13   terminate an employee, yes, or discipline them
14   hearings, not exactly like this .                         14   in some other way.
15       Q.      The first thing you said was Section          15        Q.     Okay. So I will start off by running
16   75; is that correct?                                      16   through some deposition logistics here . I'm
17       A.      Yes.                                          17   going to be asking you questions. Your job is
18       Q.      What is Section 757                           18   to answer the questions completely and
19       A.      For civil service discipline, I've            19   accurately. Does that make sense?
20   been a witness. I've never been deposed prior             20        A.     Yes, that makes sense.
21   to an ac tual administrative hearing.                     21        Q.     If you do not hear or understand any
22       Q.      Is that also true for 3020- a?                22   of my questions, please let me know. If you
23       A.      Yes.                                          23   answer a question, I will assume that you have
24       Q.      What is 3020- a?                              24   heard it and understood it and have answered it
25       A.      It is a discipl inary hearing for             25   completely and accurately. Understood?
                                                     Page 8                                                        Page 9
 1          A.     Understood .                                 l       if you would like to take a moment before
 2          Q.     Let me finish my questions before you        2       you answer when you've gotten a question,
 3   begin to answer so the court reporter can                  3       that will allow me to say something 'lib.ere we
 4   t r anscribe what i s being said. Does that make           4       won't be speaking at the same time . So why
 5   sense?                                                     5       don't we call it a pregnant pause would be
 6          A.     Yes, I understand.                           6       helpful .
 7         Q.      And I will also try to let you finish        7               MR. CARMAN: Thank you.
 8   your answer before I begin asking the next                 8       Q.      Is there any reason at all that you
 9   question.                                                  9   will not be abl e to testify truthfully and
10                 If the answer is yes or no, please say      10   completely today?
11   yes or no so the court reporter can transcribe            11       A.      No, there is no reason that I will not
12   your answer as opposed to simply nodding or               12   be able to testify truthfully .
13   shaking your head, agreed?                                13       Q.      One last instruction here is if you
14         A.      I understand.                               14   need to take a br eak at any point in time,
15         Q.     Are you under the influence of any           15   simply ask for a break and we will be more than
16   medications or drugs that would affect your               16   happy to take one . The only rule around that is
17   ability to testify truthfully and compl etely             17   you cannot take br eak if there i s a question
18   today?                                                    18   pending . So you have to answer the last
19         A.     No, I'm not.                                 19   question and then we wi ll take break after your
20         Q.     Is there any reason - -                      20   answer . Does that make sense?
21                MR. RUSHFIELD: Let me inte rrupt for a       21       A.      I underst and.
22         rroment . There is one more instruction I'd         22       Q.      What did you do to pr epare for your
23         like the witness to have . I can only objec t       23   deposi t ion today?
24         t o -- normally I can only object to the form       24       A.      I met with Mr. Rushfie l d .
25         of a question that counsel may ask you . So         25       Q.      Okay. How l ong did you meet with

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                                                 Page 10                                                    Page 11
 1   Mr. Rushfield for?                                     1       A.    Correct.
 2        A.    I expect it was about a half hour, 45       2       Q.    So other than Ms. Dargan's presence
 3   minutes.                                               3   for part of the meeting with Mr. Rushfield, did
 4        Q.   Did you r eview any documents in your        4   you meet with anyone else in preparation for
 5   meeting with Mr. Rushfield?                            5   today's deposition?
 6       A.    I looked at Policy 6830.                     6       A.    No. Ms . Che rry was also going to
 7       Q.    And what is Policy 6830?                     7   participate, but she wasn't able to.
 8       A.    It is about travel around conferences        8       Q.    Dr. Wade, have you ever been convicted
 9   for employees.                                         9   of a felony?
10       Q.    Did you review any other documents?         10       A.    No, I have never been convicted of a
11       A.    No.                                         11   felony.
12       Q.    And did that document that you did          12       Q.    Have you ever been a subject of any
13   review that was Policy 6830, did that refresh         13   type of disciplinary- type proceedings?
14   your recollection as to the contents of that          14       A.    No, I've never been the subject to any
15   document?                                             15   type of disciplinary hearing or proceeding.
16       A.    Yes .                                       16       Q.    Could you please describe your formal
17       Q.    Did you meet with anyone other than         17   education beginning with high school?
18   counsel preparing for today's deposition?             18       A.    I graduated from Cathedral Preparatory
19       A.    I believe that Ms. Dargan was present       19   School in Erie, Pennsylvania. I went to
20   during part of the prep session.                      20   Marquette University and received a bachelor's
21       Q.    And did Ms. Dargan participate in that      21   in history. I went to Edinboro University in
22   prep section, or was she simply present?              22   Pennsylvania both for certification in social
23       A.    For part of the time.                       23   studies and then I received a master's in school
24       Q.    When you say "prep session", you mean       24   psychology. I went to the College of New
25   your meeting with Mr. Rushfield, correct?             25   Rochelle for a professional diploma in
                                                 Page 12                                                    Page 13
 1   administrative certification through the State         1       Q.     Prior to your current position, where
 2   of New York. And then I received my doctor of          2   did you work?
 3   psychol ogy degree from Yeshiva University.            3       A.     I worked in the Liberty Central School
 4       Q.     When did you receive your doctorate?        4   District .
 5       A.     1998.                                       5       Q.     And how long ~id you work there?
 6       Q.     Where do you r°rk right now?                6       A.     I worked theri for one year. I was
 7       A.     I work for the City of Poughkeepsie         7   the director of special education.
 8   School District .                                      8       Q.     And what were your responsibilities as
 9       Q.     How long have you worked there?             9   the director of special education?
10       A.     I have worked there since July of          10       A.     I was responsible for supervising all
11   2020.                                                 11   special education services and English as a
12       Q.     What is your position at the               12   second language service. I was responsible for
13   Poughkeepsie City School District?                    13   all of -- coordinating all of those services.
14       A.     I ' m the assistant superintendent of      14       Q.     Why did you leave your position at
15   administrative services.                              15   Liberty?
16       Q.     And is that the only position you have     16       A.     I applied and received the position in
17   held since July 2020?                                 17   the City of Poughkeepsie.
18       A.     Correct. That is the only position I       18       Q.     So I have just sent through the chat
19   held since July of 2020.                              19   Exhibit 1. Let me know if you received that .
20       Q.     What are your responsibilities in that     20   You should be able to open it as a PDF.
21   role?                                                 21       A.     All right.
22       A.     I'm responsible for human resources .      22       Q.     You were able to open it okay?
23   The athletic director reports to me. The food         23       A.     Yes .
24   service director reports to me. The technology        24              MR . CARMAN: We will mark as Exhibit 1
25   director reports to me.                               25       the notice of deposition to Dr. Tim::ithy

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                                                  Page 14                                                     Page 15
 1       Wade .                                              1       So it's going to take a m:xnent.
 2                (Plaintiff's Exhibit l was                 2       Q.    Dr. Wade, you can open Exhibit 2 and
 3                marked for identification.)                3   see it?
 4       Q.       Have you ever seen this do~nt              4       A.    It says Carol Melton against
 5   before?                                                 s   Poughkeepsie City School District, Defendant,
 6       A.     I cannot say that I have, but I knew         6   Case Number 7:19-cv- 09755-VB.
 7   that I was being deposed.                               7       Q.    Yes. Okay. And you see the caption
 8       Q.     You understand that you are here             8   under there where it says Plaintiff's Notice of
 9   testifying based on your personal knowledge and         9   Deposition of Defendant Poughkeepsie City School
10   recollection, correct?                                 10   District --
11       A.     I understand that I'm here based on my      11       A.    Yes.
12   personal knowledge and recollection.                   12       Q.    -- on the right-hand side? Have you
13       Q.     Okay . I ' m going to send you another      13   ever seen this document before?
14   exhibit now.                                           14       A.    I don't remember seeing this document,
15              MR . CARMAN: And we will mark Exhibit       15   no.
16       2 Plaintiff's Notice of Deposition of              16       Q.    I ' d like to direct you to page 3 of
17       Defendant Poughkeepsie City School District        17   this document, and there's a heading t hat says
18       Pursuant of Federal Rule of Procedure              18   "Topics."
19       30(b) (6).                                         19       A.    Just give me a moment .
20              (Plaintiff's Exhibit 2 was                  20             MR. RUSHFIELD: Give me a m:xnent.
21              marked for identification.)                 21       Actually I have this document anyway. You
22              MR. RUSHFIELD: Every time you send a        22       can go forward. Go ahead .
23       document to the chat, when I click it, it          23       Q.    Do you see that?
24       sends me to a save as system as opposed to         24       A.    Yes.
25       just opening. I have to download each one.         25       Q.    And you see the heading "Topics"?
                                                  Page 16                                                     Page 17
 1       A.    Yes, I see the heading "Topics . "            1         A.     There are some topics I may have had
 2       Q.    So I will give you a moment here to           2   to discuss with the attorney for the school
 3   review, and you can ask me to repeat any of this        3   district because there's a separate hearing
 4   if you'd like, but do you understand that you           4   process that covers some of those during that
 5   are also here to testify on behalf of the school        5   time.
 6   district with respect to Topic Number l?                6                MR. RUSHFIELD: This is referring not
 7       A.    I understand that.                            7         to me but to counsel for the school district
 8       Q.    And also with respect to Topic Number         8         I believe in the 3020-a proceedings
 9   4?                                                      9         involving Ms . Melton.
10       A.    Yes. I understand that.                      10         Q.     I just want to be clear that I'm not
11       Q.    And also Topics 7 through 12?                11   asking about cormrunications you have had with
12       A.    Yes, I understand that I'm here to           12   counsel that may or may not be privileged. I'm
13   talk about the Topic 7 through 12.                     13   asking about any conversations you might have
14       Q.    And also Topics 14 and 16?                   14   had with other errployees of the school district.
15       A.    Yes, I understand that I'm here to           15         A.     I'm trying to look at the date of
16   discuss Topics 14 through 16.                          16   this.
17       Q.    Did you discuss any of these topics          17         Q.     Sure . You can take your time.
18   with anyone else at Poughkeepsie City School           18         A.     Not that I remember ever having
19   District?                                              19   conversations. I did -- I did see this as a
20             MR. RUSHFIELD: Objection to form.            20   list, not with subpoena in it, and I did
21       Q.    You can still answer the question.           21   CO!IITiunicate with Mr. Rushfield which of these
22       A.    During it -- may I ask during what           22   topics I thought different individuals would be
23   time period?                                           23   best able to speak to .
24       Q.    Between the time that this notice was        24                So I did ask Ms. Dargan and Ms.
25   served and today.                                      25   Natasha Cherry to participate in the deposition

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                                                   Page 18                                                       Page 19
 1   at some point . So I'm s ure tha t I t old t hem         1   wit h the distri ct and so I ' ve become f amiliar
 2   what thei r t opi cs were .                              2   wit h her through that process.
 3        Q.    Did you discuss any of thes e topics          3        Q.    When was the f irst t i me you interac ted
 4   wi th any member s of the Poughkeepsie Ci ty School      4   with Ms . Melt on?
 5   Di strict School Board?                                  5        A.    I sent a se t of emai ls at the
 6        A.    No, I did not speak about any of these        6   beginning of the year . That was my f i r s t
 7   topi cs with the Poughkeepsie - - member s of the        7   interacti on with Ms . Melton.
 8   Poughkeepsie City School Board.                          8        Q.    When you say "beginning of the year,"
 9        Q.    You can do this however you want. If          9   you're referring to the beginning of the '20- 21
10   you want to close out of Exhibit 2, you're              10   school year?
11   welcome to, although we may r e fer to it               11        A.    The beginning of the 2020-2021 school
12   throughout the deposition, so if it is easier to        12   year, yes, in September.
13   leave it open, you may want to do that as well.         13        Q.    That would have been in September of
14              Do you know Carol Melton, the                14   2020, correct?
15   plaintiff, in t his case?                               15        A.    That would have been in September of
16              MR. RUSHFIELD: Objection to form.            16   2020, yes.
17        You can answer.                                    17        Q.    All right . How often do you interact
18        A.    Yes, I know who Carol Melton is.             18   with Ms. Melton?
19        Q.    Have you ever met Carol Melton in            19              MR. RUSHFIELD: Objection to form.
20   person?                                                 20        You can attempt to answer it.
21        A.    I have never rret Carol Melton in            21        A.    I have emailed Ms. Melton a number of
22   person.                                                 22   times.
23        Q.    In what way are you familiar with Ms .       23        Q.    In your role as the assistant
24   Melton?                                                 24   superintendent, I 'm just going to refer to it as
25        A.    There is a 3020-a process against her        25   assistant superintendent because it's a very
                                                  Pag e 20                                                       Page 2 1
 1   long title . Is that okay?                               1   where I have interacted with teaching assistants
 2        A.    Yes, that's perfectly fine .                  2   outside of some aspect of human resources.
 3        Q.    In your role as the assistant                 3        Q.    In your role as the assistant
 4   superintendent, are you responsible for                  4   superintendent, you are responsible for the
 5   supervising teaching assistants?                         5   human resources aspect of teaching assistants
 6        A.    I am not responsible for directly             6   throughout the entire school district, correct?
 7   supervising teaching assistants.                         7              MR. RUSHFIELD: Objection to form .
 8        Q.    Who is responsible for directly               8        You can attempt to answer.
 9   supervising teaching assistants?                         9        A.    In regard to human resources, I would
10        A.    The building principal directly              10   interact with all teaching assistants in the
11   supervises teaching assistants. The Office of           11   district.
12   Students with Exceptionalities may have some            12        Q.    In other words, you are not
13   role as well.                                           13   responsible just for the teaching assistants at
14        Q.    So is your interaction with teaching         14   a single school, right?
15   assistants limited to the context of human              15        A.    Correct. I'm not responsible for
16   resources-related issues?                               16   teaching assistant s at a singl e school .
17              MR. RUSHFIELD: Objection to form .           17        Q.    Okay. I believe you said that the
18        You can answer.                                    18   principal of a school is primarily responsible
19        A.    My interaction with teaching                 19   for supervising the teaching assistants at that
20   assistants is related to human resource issues,         20   particular school; is that right?
21   yes.                                                    21        A.    Correct , the principal is primarily
22        Q.    Is there any other context in which          22   responsible for supervising teaching assistants
23   you as the assistant superintendent interact            23   in their school.
24   with teaching assistants?                               24        Q.    Do you know what activities or
25        A.    I can't think of any other inst ance         25   r esponsibilities are involved with supervising

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                                                  Page 22                                                      Page 23
 1   t eaching assi s t ants?                                 1   reach out to me if t hey needed assi stance.
 2              MR . RUSHFIELD : Obj ection t o form.         2        Q.    Who oversees day- t o-day att endance
 3        You can attempt to answer.                          3   policies for teaching assi stants?
 4        A.    In a t ypical year , it would be giving       4              MR. RUSHFIELD : Objection to form.
 5   them thei r assignment . I t would be working wit h      5        You can attempt to answer.
 6   them solving any challenges and evaluat ing t hem        6        A.    The pr incipal monit ors the daily
 7   on an annual basis.                                      7   at tendance ini.tially . There is an i ndividual in
 8        Q.    So princi pals give work assigrunent s?       8   HR who gathers all employee attendance .
 9        A.    Correct, principals would give work           9        Q.    When you s ay all employees, is that
10   assignment s t o teaching assistants.                   10   districtwide or school based?
11        Q.    And do the principal s set working           11        A.    That is districtwide.
12   hours for teaching assistants?                          12        Q.    When you say they gather that
13        A.    The principal would set the working          13   inf ormation, is that gathered on a daily basis?
14   hours for the employees in their building based         14        A.    Di fferent bargaining units have
15   on t he contracts that are out lined.                   15   different methods of reporting their attendance.
16        Q.    And if there are any personnel issues        16   Some use electronic forms and some use paper
17   that arise regarding a teaching assi stant, would       17   forms.
18   the principal be the first person to be invol ved       18        Q.    When you say "bargaining units,• what
19   in any such issues?                                     19   are you referring t o?
20        A.    Correct. The principal would be t he         20        A.    The school district has a rn.nnber of
21   pri mary contact with teaching assistants for           21   bargaining units in which employees are
22   personnel issues .                                      22   represented. The teaching assistants and aides
23        Q.    And would you be the secondary               23   is one bargaining unit. The teachers is another
24   contact?                                                24   bargaining unit . The CSEA is a bargaining unit.
25        A.    Correct. Typically, a principal would        25   The clerical i s a bargaining unit. And there
                                                  Pag e 24                                                     Page 2 5
 1   are some admini strators who are in t he                 1             MR. RUSHFIELD:   Object ion to form.
 2   bargaining unit. Everyone else is under                  2        You can answer .
 3   nonaligned.                                              3       A.     I don ' t know if it's listed in the
 4        Q.    For the teaching assistants bargaining        4   collective bargaining unit.
 5   unit, how is their attendance coll ected and             5   j Q.       But it is a school policy - - or a
 6   reviewed?                                                6   district policy?
 7              MR. RUSHFIELD: Objection to form.             7        A.    Correct .
 8        You can answer.                                     8        Q.    Does anybody review the attendance for
 9        A.    I believe that they use AESOP, which          9   teaching assistants on a regular basis?
10   is an electronic form.                                  10        A.    The principal woul d review the
11              MR. RUSHFIELD: That's A-E- S-0-P, by         11   att endance for teaching assistants in their
12        the way.                                           12   building .
13        Q.    Is it the teaching assistants '              13        Q.    I s t hat done dail y?
14   responsibility to enter their attendance                14        A.    They would be aware of who called in
15   i nformation into AESOP?                                15   or who was not present daily. They wouldn ' t
16        A.    They enter it in, yes, at the building       16   report it daily t o HR. That would be every
17   level. The secretaries have the abi lity to             17   month, every two weeks they would i nform what
18   enter it if they do not.                                18   all of the attendance was.
19        Q.    Are teaching assistants expected to          19        Q.    I just want to make sure that I
20   enter t heir attendance through AESOP?                  20   understand. The teaching assistants are
21        A.    Yes .                                        21   responsible for r epor ting their attendance,
22        Q.    Is that som:!thing that is present in        22   right?
23   the collect ive bargaining agreement between t he       23        A.    Correct.
24   school distric t and teaching assistants                24        Q.    And the princ ipal of their building
25   bargaining unit?                                        25   collects that informat ion on a daily basis,

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                                                 Page 26                                                    Page 27
 1    right?                                                1   employees use a digital sign-in called
 2        A.    Yes.                                        2   Timepiece , but I don 't believe t hat teaching
 3        Q.    And then they report that to HR, I          3   assistants do that .
 4   believe you said, every other week?                    4        Q.    So I want to go back. You mentioned
 5        A.    Correct. They assemble the attendance       5   AF.SOP earlier. Could you explain what AESOP is?
 6   and update i t .                                       6        A.    It 's a call-in service where
 7        Q.    For teaching assistants, do they have       7   individuals identify if they are going to be out
 8   to fill out a paper form when they come into the       8   and whether they need a substitute.
 9   school to show that they are pre sent?                 9        Q.    So if an employee is going to be
10        A.    Everyone signs in in the IIDming.          10   absent, i t's their responsibility to call AESOP
11        Q.    How do they sign in?                       11   and inform the dist rict that they are going to
12        A.    There woul d be a paper that would be      12   be absent, correct?
13   displayed either at the greeter's desk or in the      13        A.    Correct .
14   main office in which employees sign in in the         14        Q.    So if an employee - - strike that .
15   mOl'Tling.                                            15              So if a teaching assistant comes into
16        Q.    So there's a paper sign- in sheet the      16   the building, is present in school, there's a
17   teaching assistant would put their name down on       17   paper record of them signing in to the building,
18   when they enter the building?                         18   right?
19        A.    Correct.                                   19        A.    Correct.
20        Q.    Are there any other ways you can sign      20        Q.    And if they are absent, t hen there
21   in to a building?                                     21   should be a record created through AESOP that
22        A.    For any employee?                          22   they wer e not in the building that day, right?
23        Q.    Let's start with for teaching              23        A.    The record of whether they were in the
24   assistants.                                           24   building or not would be the sign- in. The
25       A.     That's all that I'm aware of. Some         25   record of whether they called out or not would
                                                 Page 28                                                    Page 29
 1   be AESOP. But AESOP would not record whether           1   ccrnplaint that Ms . Melton filed against
 2    they were physically present in the building .        2   Poughkeepsie City School District?
 3        Q.    So when the principal reviews the           3       A.     I do not remember reviewing the
 4   attendance information, are they reviewing both        4   original ccrnplaint.
 5   AESOP records and the paper sign-in form?              5       Q.     When did you first become aware of the
 6        A.    I would expect that is what happens .       6   current lawsuit?
 7        Q.    But you don't know for sure?                7       A.     There were a couple of times in
 8        A.    Correct. I don't know the procedure         8   September in which Mr. Rushfield asked me to
 9   for each principal. I would expect each                9   reach out to Ms . Dargan or Ms. Penn for some
10   principal does it somewhat differently.               10   documents or items. In collecting them, that's
11        Q.    You're aware that Ms. Melton is suing      11   when I becaire aware of the lawsuit.
12   Poughkeepsie City School District, correct?           12       Q.     Are you aware that this is not the
13        A.    I am aware that Ms. Melton is suing        13   first lawsuit that Ms. Melton has brought
14   Poughkeepsie City School District.                    14   against the Poughkeepsie City School District?
15        Q.    And are you generally familiar with        15       A.     I have become aware that this is not
16   the nature of those allegations?                      16   the first lawsuit that Ms . Melton has brought
17              MR . RUSHFIELD: Objection to form.         17   against the district .
18        You can attempt to answer .                      18       Q.     Ms. Melton first filed an EOOC
19        A.    I'm generally aware of the nature of       19   ccrnplaint against the school district in 2015;
20   those allegations, yes.                               20   is that right?
21        Q.    Have you reviewed the amended              21       A.     I do not know the original date of the
22   complaint?                                            22   original ccrnplaint .
23        A.    I do not remember reviewing the            23       Q.     You are aware that she at scxne point
24   amended ccrnplaint .                                  24   filed an EEOC complaint against the school
25        Q.    Do you remember reviewing the original     25   district, right?

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                                                 Page 30                                                      Page   3l
 1       A.     Yes, I am aware that she has filed an       1             MR. RUSHFIELD: Objection to form.
 2   EEOC complajnt against the school di strict.           2          You can attempt to answer.
 3       Q.     And she previously sued the school in       3          A.    Could you repeat the question?
 4   2016 based on that original EEOC complaint,            4          Q.    Sure. When the COVID 19 pandemic
 5   right?                                                 5   s t ar ted in March of 2020, how did that inpact
 6              MR. RUSHFIELD: Objecti on . If you          6   Poughkeepsie City School District ' s ability to
 7       know, you can answer.                              7   conduct its operations in person?
 B       A.     Could you repeat the question?              B          A.    I was not there in March of 2020 . I
 9       Q.     Sure. Ms. Melton previously sued the        9   was not in the Poughkeepsie City School District
10   school district, Poughkeepsie City School             10   then.
11   District , in 2016 based on the 2015 EEOC             11          Q.    Have you learned through your time as
12   complaint, right?                                     12   an employee how the school district operated
13              MR. RUSHFIELD: Obj ection. You can         13   after March of 2020?
14       answer.                                           14                MR. RUSHFIELD: Objection to form.
15       A.     I 'm aware that she has sued the           15          You can attempt to answer .
16   district.                                             16         A.     All school districts in New York State
17       Q.     You weren't involved in either of the      17   were remote for a period of time after March of
18   2015 EEOC case or the 2016 lawsuit, right?            18   2020.
19       A.     Correct, I was not involved in either      19         Q.     So from March of 2020 through t he end
20   the 2015 nor the 2016 EEOC complaint against the      20   of the 2019-2020 school year, Poughkeepsie City
21   district.                                             21   School District was completely remote?
22       Q.     When the COVID 19 pandemic started in      22         A.     That is my understanding, that the
23   March of 2020 , how did that impact Poughkeepsie      23   Poughkeepsie City School District was COl!pletely
24   City School District's abil ity to conduct its        24   remote from March 2019 through June of 20 -- I'm
25   operations in person?                                 25   sorry -- March of 2020 through June of 2020,
                                                 Page 32                                                     Page 33
 1   yes.                                                   1       Q.     Were there any empl oyees that were
 2       Q.     And t hat would have included teaching      2   required to report in person at the beginning of
 3   assistants as well, correct?                           3   the 2020-2021 school year?
 4       A.     That would have included teaching           4        A.    All employees except for teachers were
 5   assistants as well , yes.                              5   required to report at the beginning of t he
 6       Q.     When the 2020-2021 school year began,       6   2020-2021 school year.
 7   were students attending class in person at their       7        Q.    How did the Poughkeepsie City School
 B   respective schools in the Poughkeepsie City            8   Di strict go about making the detennination of
 9   School District?                                       9   which employees should report in person at the
10       A.     Could you repeat the question?             10   beginning of the 2020 -2021 school year?
11       Q.     Sure. And there are a lot of 20s in        11        A.    There was a discussion about capacity
12   there, so I'll try to go slow to make it clear.       12   with the goal always being to as quickly as
13   When the 2020-2021 school year began, were            13   possible bring everyone back, and it was done in
14   students attending class in person at their           14   phases.
15   respective school s in the Poughkeepsie City          15        Q.    Who was involved in that
16   School Di strict?                                     16   decision-making process?
17       A.     No. The students were not attending        17        A.    There were seven reopening ccmnittees
18   physically at the beginning of the 2020-2021          18   and all of that information went to the other
19   school year. They were remote .                       19   assistant superintendents and the
20       Q.     When the 2020-2021 school year began,      20   superintendent, and there was a discussion and a
21   were teachers attending class in person at their      21   plan developed based on those seven carrnittees.
22   respective schools in the Poughkeepsie City           22        Q.    How were those seven com:nittees that
23   School District?                                      23   you referred to - - s t rike that .
24       A.     At the beginning of the 2020-2021          24              Did each of those seven comnittees
25   school year, teachers were remote.                    25   have its own -- strike that as wel l .

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                                                  Page 34                                                     Page 35
 1               How did the school district decide          1   were on any of the committees .
 2   what corrmittees to form?                               2       Q.    When were those seven comnittees --
 3               MR. RUSHFIELD: Objection to form.           3       A.    one of the comnittees was the human
 4       You ' re asking about with relationship to the      4   resources comnitt ee , and I met with each of the
 5       seven committees?                                   5   union presidents, so that is a committee that I
 6               MR. CARMAN: Correct .                       6   know had a teaching assistant on it, who was the
 7               MR. RUSHFIELD: All right .                  7   president of the teaching assistant bargaining
 8       A.      The state gave some guidance on             8   group.
 9   developing a reopening plan, and so some of t he        9       Q.    When were these seven comnittees
10   comnittees - - there was a comnittee on                10   formed?
11   instruction and technology that met. There was         11       A.    I believe that they started to be
12   a safety corrmittee . There was a food service         12   formed shortly after the district went remote.
13   corrmittee . There was a transportation                13   The comnittees already exist ed when I can-e in
14   corrmittee. There was a corrmunity committee , a       14   July.
15   conmunication comnittee. So each of the                15       Q.    So these seven committees each had a
16   different committees had a role in bringing            16   particular subject matter that was their purview
17   together a plan to reopen.                             17   for which they were charged with creating a
18       Q.      And how did the school district decide     18   proposal for reopening; is that correct?
19   who should sit on each of these seven                  19       A.    That's correct .
20   corrmittees?                                           20       Q.    Was there a schedule or deadline set
21       A.      The corrmittees were made up of            21   by which these comnittees had to submit their
22   employees, parents and cOlllllUl'lity members .        22   proposal?
23       Q.      Were teaching assistants appointed to      23       A.    There was a document that was created,
24   any of those comnittees?                               24   and so each of the committees participated in
25       A.      I don't know if teaching assistants        25   different sections of the comnittee. The
                                                  Page 36                                                     Page 37
 1   information was brought back and then it was put        1         rephrase to make it clear.
 2   together.                                               2         Q.    After the Poughkeepsie City School
 3       Q.     And when was that?                           3   District published their reopening plan, was
 4              MR . RUSHFIELD: Objection to form.           4   there a period of time during which employees of
 5       When was what exactly?          1                   5   the school district who were not members of the
 6       Q.     When was this document ~ut together?         6   corrrnittees could submit corrrnents on that plan?
 7       A.     It was the - - the docurrent was put         7         A.    As part of the reopening, we offered a
 8   together in late sunrner.                               8   couple of surveys in which people could coorrent.
 9       Q.     Are you aware of a more precise time         9         Q.    And who reviewed those surveys?
10   frame than l ate s1..ll11ller?                         10         A.    People -- administrators within
11       A.     I'm not . I don' t remember the exact       11   central office.
12   date that the document was finalized.                  12         Q.    Did you review any of those surveys?
13       Q.     So you don't know if it was -- if this      13         A.    With a group of people, yes.
14   document was released to the whole corrrrunity two     14         Q.    Were there any themes that emerged in
15   weeks before school?                                   15   the corcments that you reviewed?
16       A.     I don't remember when the document was      16               MR. RUSHFIELD: Objection to form. If
17   finalized.                                             17         you think you unders tand it, you can answer
18       Q.     Was it -- other than the comnittees         18         it .
19   who worked on the docurrent, was the final plan        19         A.    There were people who were anxious to
20   open to review or conment by members of the            20   get back to work, and there were people who had
21   Poughkeepsie City School District? When I say          21   concerns about returning.
22   "members, " I mean employees .                         22         Q.    Did you directly work on any of the
23              MR . RUSHFIELD: Could you either            23   proposals related to in-person attendance at the
24       repeat that or have it read back, please?          24   beginning of the 2020- 2021 school year?
25              MR. CARMAN: Sure. I'll maybe                25               MR. RUSHFIELD: Objection to form.


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                                                    Page 38                                                       Page 39
 1       You can answer.                                       1   shared issues wit h them. The purpose of the
 2       A.      I worked on the safety corrrnittee --         2   reopening document was a communication tool for
 3   subcorrrnittee, and I worked on the food service          3   parents, students and employees.
 4   subcorrrnittee and the t ransportation                    4        Q.    What do you mean when you say
 5   subcorrrnittee .                                          5   "caranunication tool"?
 6       Q.      What was the role of the safety               6        A.    What the plan was going forward when
 7   subcoomittee?                                             7   we were going to reopen.
 8       A.      To make sure that protocols and               8        Q.    Was following the pl an mandatory for
 9   procedures were in place for everything from              9   employees?
10   wearing face masks to social distancing to               10        A.    We cO!l'ITlUilicated our expectations of
11   making sure that there was a cleaning schedule.          11   what employees needed to do, yes.
12       Q.      Did the safety subccxmti.ttee develop a      12        Q.    I'm not sure if you answered my
13   health check form?                                       13   question. I'm not asking about whether you
14       A.     The safety subcomnittee discussed what        14   camrunicated your expectations . I 'm asking if
15   should be in the health check form. And that             15   following the letter of the pl an was mandatory
16   subsequently was created by an implementation            16   for employees?
17   team that included myself and a couple of nurses         17              MR. RUSHFIELD : Objection t o form.
18   over a period of time and some other                     18        You can attempt to answer.
19   administrators.                                          19       A.     The doetunent wasn' t looked upon as a
20       Q.     And was this reopening plan approved          20   document where you had to follow the letter of
21   by all of t he bargaining units?                         21   the form. The document was looked upon as
22              MR. RUSHFIELD: Objection to form .            22   camrunicating what our expectations were.
23       You can answer.                                      23       Q.     Would t here be consequences for an
24       A.     It was not a doetunent that required          24   employee who does not follow the letter of the
25   their formal approval in some way. We certainly          25   plan?
                                                   Page 40                                                       Page 4l
 1              MR. RUSHFIELD: Objection to form.              1       t he question again.
 2       You can attempt to answer.                            2              MR. CARMAN : Sure .
 3       A.     It would depend on what an employee            3       Q.     At the beginning of the 2020- 2021
 4   did not follow.                                           4   school year, teachers were rerrote and students
 5       Q.     Who would make the determination as to         5   were remote, correct?
 6   whether an employee ' s actions that were                 6       A.     Correct , at the beginning of the
 7   inconsistent with the plan warranted some sort            7   '20-21 school year, teachers were remote and
 8   of reaction from the school district?                     8   students were remote.
 9              MR. RUSHFIELD: Objection to form.              9       Q.     I'm going to send you what we marked
10       You can attempt to answer.                           10   as Exhibit 3.
11       A.     Initi ally, the principal would make a        11              (Plaintiff ' s Exhibit 3 was
12   determination if empl oyees either had to be             12              marked for identification.)
13   spoken to or guided a certain direction. And             13              MR. RUSHFIELD : You're going to have
14   then if t hey det ermined that t hey needed greater      14       to give me a m:iment to figure out how to
15   assistance, t hen they would ask either myself if        15       open this.
16   it was a human resource issue or the other               16              MR. CARMAN: Sure.
17   assistant superintendent.                                17             MR. RUSHFIELD: Okay. I do have it.
18       Q.     I j ust want to make sure I - - so at         18       It may be that at l east for me, maybe that
19   the beginning of the 2020-2021 school year,              19       you may want to end up screen sharing these
20   teachers were remote and students were remote,           20       because it may end up being faster than how
21   correct?                                                 21       long it's taking me to do that .
22              MR. RUSHFIELD: We l ost your audio.           22             MR. CARMAN: I didn't think that was
23              TIIE WITNESS: Can you hear me?                23       too long .
24              MR. CARMAN: Yes.                              24             MR. RUSHFIELD: Whatever works for
25              MR. RUSHFIELD: Why don't you gi ve him        25       you . It seemed to me like it took ages, but

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                                                  Page 42                                                    Page 43
 1       I guess it didn't. Go ahead.                        1       A.     September 8th was a conference day,
 2       Q.    Dr. Wade, you can see Exhibit 3,              2   and then September 9th was the first day.
 3   correct?                                                3       Q.     This welcome back memorandum was sent
 4       A.    Yes, it's the welccxne back letter.           4   six days before the f irst day of school for
 5       Q.    Have you seen this document before?           5   students, correct?
 6       A.    Yes, I have seen this document before.        6       A.     Correct.
 7             MR . RUSHFIELD: Before you ask another        7       Q.     Okay. I'd like you to look at the
 8       question, I just ask that when all is said          8   third paragraph down, which begins, "On
 9       and done after all this is over, if you             9   September 9, 2020." Do you see that?
10       could send me through email a copy of your         10       A.     Yes.
11       exhibits .                                         11       Q.     So I will give you a moment to read it
12             MR. CARMAN: Of course.                       12   here, but my question is what is the purpose of
13             MR. RUSHFIELD: Thank you . Go ahead.         13   this paragraph?
14       I'm sorry I interrupted your question.             14             MR. RUSHFIELD: Is this the paragraph
15       Q.    What is this document?                       15       that starts with the word "I" and ends with
16       A.    This is the welcome back letter to all       16       a parentheses after the word "unit"?
17   employees at the beginning of last year.               17             MR. CARMAN: Correct.
18       Q.    And are you the author of this               18       A.    The purpose of this paragraph is to
19   document?                                              19   comnunicate to all employees that all except
20       A.    Yes, I'm the author of this document.        20   members of the PPSTA unit would be expected to
21       Q.    This document dated September 3, 2020?       21   physically report to work on September 9th.
22       A.    Yes.                                         22       Q.     I think you referred to PPSTA, which
23       Q.    Do you know what the first day of            23   is an acronym, P-P-S-T-A; is that correct?
24   school was for Poughkeepsie City School Distr i ct     24       A.    That's correct.
25   in 2020, in fall of 2020?                              25       Q.    And what is that?
                                                 Page 44                                                    Page 45
 1       A.    That is the teachers bargaining unit.         1       A.    Correct .
 2       Q.    So this paragraph specifies that all          2       Q.    For teaching assistants working in
 3   employees except for the teachers bargaining            3   person in the 2020- 2021 school year, did their
 4   unit have to appear in person on September 9,           4   job responsibilities change from previous years
 5   2020, correct?                                          5   where students were in person?
 6       A.    Correct.                                      6       A.    In some ways, I'm sure their job
 7       Q.    All right. And so this letter applied         7   responsibilities did change.
 8   to teaching assistants, right?                          8       Q.    In what ways did their job
 9       A.    Correct. This letter applied to               9   responsibilities change?
10   teaching assistants and all employees of the           10       A.    Certainly, all employees had to rely
11   district.                                              11   much more heavily on technology . And because
12       Q.    And when I say "this letter, " I'm           12   things such as supervision of the cafeteria or
13   specifically referring to this paragraph, the          13   other duties l ike that were not necessary
14   directive -- well, I shouldn't say "directive. 11      14   because the students were not there, principals
15             Where it says "all employees will be         15   may have assigned employees to different duties.
16   expected to report in person to their assigned         16       Q.    So is it fair to say that the duties
17   buildings," that applies to teaching assistants,       17   that are only necessary when students are in
18   right?                                                 18   person would have disappeared when students are
19       A.    Correct. The expectation was teaching        19   not there in person?
20   assistants report to their assigned buildings.         20       A.    The duties of employees would be
21       Q.    So this memo marks a change in policy        21   different when students were present as opposed
22   from the spring of 2020 where everyone was             22   to when students were not present.
23   working remote to the fall of 2020 where certain       23       Q.    Maybe I can make that clearer through
24   employees were required to appear in person at         24   an example. You mentioned supervision of the
25   school, correct?                                       25   cafeteria. Do you recall that?

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                                                 Page 46                                                     Page 47
 1       A.     Yes , I do .                                1   change related to the increased reliance on
 2       Q.    So the reason the cafeteria woul d need      2   technology; is that right?
 3   to be supervised is because students are there ,       3       A.     Correct.
 4   correct?                                               4       Q.     And is that because both students and
 5       A.     Cor rect, the reason to supervise t he      5   teachers were working remotely?
 6   cafeteria would be because students were               6       A.     I t was because students were working
 7   present .                                              7   remotely, yeah.
 8       Q.    And so if students are not present in        8       Q.     But not teachers?
 9   the cafeteria, there's no need to supervise the        9       A.    Well, it was because the students were
10   cafeteria, r ight?                                    10   remote. If the students had been in person,
11       A.    Correct, there would be no need to          11   then it woul dn't matter, you know, what the
12   supervise the cafeteria.                              12   teachers were.
13       Q.    And that same logic about the physical      13       Q.    All right. What are the
14   presence of students would apply to other             14   responsibilities of a teaching assistant in the
15   scenarios as well, for exarrq;>le, recess             15   Poughkeepsie City School District?
16   activities, monitoring recess activities; is          16             MR. RUSHFIEID: Object to form. You
17   that right?                                           17       can attempt to answer.
18             MR. RUSHFIEID: Objection to form.           18       A.    Different teaching assistants may have
19       You can answer.                                   19   a variety of responsibilities. Assisting
20       A.    Correct . Errployees would not have to      20   teachers in classes that they are assigned with
21   monitor the playground if the playground was not      21   both instructional and noninstructional tasks
22   present -- if students were not present on the        22   are primarily the j ob parameters of teaching
23   playground.                                           23   assistants.
24       Q.    And I think you mentioned other ways        24       Q.    What are instructional tasks?
25   in which teaching assistants' responsibilities        25       A.    Working directly with students on any
                                                Page 48                                                      Page 49
 1   given assignment .                                     1       You can attempt to answer.
 2        Q.    Are there any other exarrq;>les of          2       A.     It would depend on what materials they
 3   instructional tasks that you can think of?             3   needed to complete the task . There may be
 4        A.    No . It would be working with the           4   materials that would have been in the classroom
 5   students <iip:ectly.                                   5   that they would not have had at home.
 6        Q.    Ahd what are noninstructional tasks?        6       Q.     Can you provide a concrete example?
 7        A.    It may be gathering materials for a         7       A.     So if there were workbooks or other
 8   lesson, either creating them or copying them or        8   materials that may have been in the classroom,
 9   putting students in different instructional            9   they may not have t hose at home.
10   groups. There would be a variety of                   10       Q.     Would the students who are also remote
11   noninstructional tasks .                              11   have access to those workbooks?
12        Q.    So for teaching assistants during the      12       A.     Teachers would have either provided
13    '20-21 school year, they were expected to            13   the information electronically to them or made
14   continue to perform their instructional and           14   sure they had access to them and forms of
15   noninstructional tasks, correct?                      15   packets.
16              MR. RUSHFIEID: Objection to form.          16       Q.     So if a teacher can provide that
17        You can attempt to answer.                       17   information to s t udents who are remote, teachers
18        A.    Correct. Teaching assistants were to       18   could also provide that information to a
19   continue to work on instructional and                 19   teaching assistant who is remote, correct?
20   noninstructional tasks.                               20       A.     Correct , if the teacher was the one
21        Q.    Are you aware of any instructional         21   that was creating it. If it was, in fact , the
22   tasks that could not be performed unless a            22   teacher assistant that was creating it, then no.
23   teaching assistant was physically present in the      23   But yes --
24   school building?                                      24       Q.     When you refer to "creating it, " are
25              MR. RUSHFIEID: Obj ection t o form .       25   you -- have you crossed over into a

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                                                  Page 50                                                    Page 5 1
 1   noninstructional task at that point?                    1   City School Di strict conducting i ts r emote - -
 2       A.      In part. I mean, somet imes i t's not       2   sorry .
 3   possibl e to total ly separate noninstructional         3              How was t he Poughkeepsie City School
 4   and instruct i onal tasks in that they go               4   Dist rict conducting its remote instruction at
 5   together . But there would certai nly be a              5   the beginning of the 2020- 2021 school year?
 6   component of what I said that was a                     6        A.    The Poughkeepsie City School District
 7   noninstructi onal task, yes.                            7   was utilizing Chromebooks for students, and most
 8       Q.      Are you aware of any instance in which      8   of the activities t hat teachers presented to the
 9   a teaching assistant was unable to perform a            9   students was through Google Classroom.
10   task because they were not physically in the           10        Q.    So did the school distri ct issue
11   building?                                              11   Chromebooks to every student?
12       A.      I'm not aware of a teaching                12        A.    Eventuall y, every student has received
13   assistant ' s ability to complete a task or not        13   Chromebooks that they needed. Sometimes
14   complete a task.                                       14   families shared, so t here was a large purchase
15       Q.      All right. If Ms . Melton had              15   of Chromebooks in March of 2019 when this
16   physically been present in her school building,        16   happened. And then many rrore were ordered in
17   would she need to log into Google Classrooms?          17   August, but because the entire nation had
18               MR. RUSHFIELD: Objection. You can          18   ordered them, they came in in small arrounts over
19       answer.                                            19   a very long period of time.
20       A.      It would have depended on what the         20       Q.     Were Chromebooks also issued to
21   principal assigned her to, but part of her tasks       21   teachers?
22   if she was assigned to a classroom would have          22       A.     There were devices that were i ssued to
23   been to log into Google Classroom, yes.                23   teachers , yes.
24       Q.      Let me back up a minute . I might have     24       Q.     When you say "devices," do you mean
25   gotten ahead of myself. How is Poughkeepsie            25   Chromebooks?
                                                 Page 52                                                     Page 53
 1       A.     They may have been Chromebooks. They         1       A.     If the teaching assistant was assigned
 2   may have been laptops.                                  2   to a teacher in which they were utilizing Google
 3        Q.    And were devices, Chromebooks or             3   Classroom, yes.
 4   laptops, also issued to teaching assistants?            4       Q.     Do you know if Ms. Melton was assigned
 5        A.    Teaching assistants had access to            5   to a teacher who was utilizing Google Classroom?
 6   devices in the classroom, so they may have been         6       A.     She was --
 7   desktops. They may have been Chromebooks. They          7       Q.     Okay.
 8   may have been laptops.                                  8       A.     -- initially.
 9        Q.    Is one of the responsibilities of            9       Q.     Why do you say "initially"?
10   teaching assistants to monitor and respond to          10       A.     Because there was a point where Ms.
11   email from fellow staff members and students?          11   Dargan communicated to her not to participate in
12              MR. RUSHFIELD: Could you read that          12   that manner.
13        back or repeat that question?                     13       Q.     Was she directed to participate in a
14              MR. CARMAN: I will repeat it.               14   different manner?
15       Q.     Is one of the responsibilities of           15       A.     She was directed to attend physically
16   teaching assistants to rronitor and respond to         16   school.
17   emails from fellow staff members and students?         17       Q.     I think I understand you to mean that
18              MR . RUSHFIELD: Objection to form.          18   she needed to physically be located in the
19       You can answer.                                    19   school; is that correct?
20       A.     A responsibility of a teaching              20       A.     Correct.
21   assistant would be to respond to emails                21       Q.     But if the students are not in t he
22   appropriately from teachers and students .             22   school and the teachers are also not in the
23       Q.     And is one of the responsibilities of       23   school , how would that affect how she interacted
24   teaching assistants to l og into Googl e               24   with those two groups?
25   Classrooms during instruction periods?                 25       A.     There was a time when because she was

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                                                  Page 54                                                     Page ss
 1   being insubordinate, she was told to discontinue        1   duties. I'm asking specifical ly about the
 2   participating.                                          2   interactions with students and teachers. Can
 3       Q.    That's not my question. My question           3   you provide any example where Ms. Melton's lack
 4   is if the students are remote and the teachers          4   of physical presence in the building impacted
 5   are remote, how would Ms. Melton's physical             s   her ability to interact with students and
 6   presence in the building change the way she             6   teachers who were remote?
 7   interacted with the students and the teachers?          7       A.    I can't think of anything that I ' m
 8             MR. RUSHPIELD: Objection to form.             8   aware of her being remote would impact her
 9       You can attempt to answer.                          9   ability to interact with students and teachers.
10       A.    It would depend on what the                  10       Q.    Okay. How did you first learn that
11   expectations of the principal was. There may,          11   Ms. Melton was not physically reporting to --
12   in that lesson, may not be a difference, but           12   let me take a step back.
13   there may. It would depend on what the specific        13             What school was Ms. Melton assigned
14   criteria was at the time.                              14   to?
15       Q.    Do you have any example that you can         15       A.    Ms. Melton was assigned to Morse
16   point me to where Ms. Melton's lack of physical        16   Elementary School.
17   presence in the building impacted her ability to       17       Q.    And at some point in time, you learned
18   interact with students or teachers?                    18   that Ms. Melton was not reporting physically to
19             MR. RUSHPIELD: Objection to form.            19   Morse Elementary School, correct?
20       You can answer .                                   20       A.    Correct.
21       A.    There were times when principals asked       21       Q.    When did you learn that Ms. Melton was
22   paraprofessionals and others to complete               22   not physically reporting to Morse Elementary
23   additional duties that would have needed her           23   School?
24   presence in the school.                                24       A.    I learned in September that Ms. Melton
25       Q.    I'm not asking about additional              25   was not reporting to Morse Elementary School.
                                                  Page 56                                                     Page 57
 1       Q.     Do you remember when in September?           1   Melton was not reporting.
 2       A.     It was around September 14th, I              2       Q.    Did Ms. Dargan tell you that?
 3   believe.                                                3       A.    Yes, not by specific names, but she
 4       Q.    And how did you find that out? How            4   did say that there were people that were
 5   did you find out that Ms. Melton was not                5   frustrated.
 6   reporting physically to Morse Elementary School?        6       Q.    And I believe -- when you say "people
 7       A.    Ms. Dargan let me know that Ms. Melton        7   that were frustrated," you specifically mean
 8   was not physically reporting to work .                  8   teaching assistants?
 9       Q.    Do you know how Ms. Dargan learned            9       A.    Teaching assistants and -- I don't
10   that information?                                      10   know if there was anyone else that was
11       A.    Because she monitored the attendance         11   physically reporting that expressed frustration .
12   of indivictuals in her building.                       12   I can't remember specifically any other
13       Q.    Did Ms. Dargan tell you that she was         13   individuals other than teaching assistants.
14   aware of any complaints regarding Ms. Melton's         14       Q.    So these teaching assistants that you
15   participation from home?                               15   recall that allegedly made complaints about Ms .
16       A.    Ms . Dargan did --                           16   Melton's lack of physical presence in the
17               {Technical interruption.)                  17   building -- strike that.
18       Q.    Can you repeat that answer? You just         18             Teaching assistants don't supervise
19   broke up for a moment.                                 19   other teaching assistants, do they?
20       A.    Sure. Ms. Dargan did not cOl11TlUllicate     20       A.    Correct. Teaching assistants do not
21   with me any complaints from teachers, I believe        21   supervise other teaching assistants.
22   you said, from her participating from home.            22       Q.    Are you aware of any details of the
23       Q.    From teachers or from anyone else .          23   complaints that Ms. Dargan told you about
24       A.    I do think that other teaching               24   regarding Ms. Melton's lack of physical presence
25   assistants voiced concern to Ms. Dargan that Ms.       25   in Morse Elementary School?

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                                                      Page 58                                                           Page 59
 1        A.    No, I don' t remember any details .                   1       Exhibit Number 4 . And Mr. Rushfiel d, if you
 2        Q.    You don' t know i f those teaching                2           want t o let me know once - -
 3   assi stants who compl ained, f or example , did so           3                  MR. RUSHFIELD : I 'm in the pr ocess .
 4   because they were forced t o do extra wor k that             4                  (Plainti ff ' s Exhibit 4 was
 5   Ms. Mel ton could not help with due to her l ack             5                  marked for i dentif i cation.)
 6   of physical presence?                                        6           Q.     Dr. Wade, you can see Exhibit 4 okay?
 7              MR. RUSHFIELD: Obj ection t o form.               7           A.     Yes . I t 's a series of emai l s .
 8        You can attempt to answer.                              8                  MR. RUSHFIELD: I 'm good t o go.
 9       A.     I don't know if that is why.                      9                  MR. CARMAN: Okay. I ' ll quickly
10       Q.     I ' m about to intr oduce a new exhibit ,        10           identify it. This is an email exchange
11   but I want to give you a chance here, because               11           that's dat ed September 14, 2020, and it's
12   we've been going a little over an hour, if you              12           bearing Bates numbers PCSD 0043 to PCSD
13   would like to take a break, we can do that, or              13           0046 .
14   if you would like to keep going, I ' m happy to do          14           Q.     Dr. Wade, have you seen this document
15   that as well . But I want to give you the                   15       before?
16   opportunity if you need to use the restroom or              16                  MR. RUSHFIELD : Objection to form.
17   get a drink of water or something.                          17           A.     Yes.
18       A.     I' m fine . I can keep going.                    18                  MR. RUSHFIELD : The reason I r aise the
19              MR. RUSHFIELD: Are we finished with              19           objection is the document is multiple pages,
20       this exhibit, or are we going to be using it            20           and they' re not a single document . They are
21       again?                                                  21           a bunch of different mutations, but the
22              MR. CARMAN: We will likely be                    22           witness has answered.
23       referring to it periodically throughout .               23           Q.     Dr. Wade, have you seen this emai l
24              MR . RUSHFIELD: Okay.                            24       exchange before?
25              MR. CARMAN: I'm going to send now                25           A.     Yes.
                                                     Pag e 6 0                                                         Page 61
 1       Q.      I'm goi ng to direct your att ention             1       Melton has not reported to the buil ding, right?
 2   here to the second page. These are not all the               2            A.    Correct .
 3   most chronological order, so we will be jumping              3            Q.    I believe we covered this earlier, but
 4   around a little bit . But on the second page,                4        I'm going to ask it again just to make sure I
 5   the third line of text, it says, "On Monday,                 5       have the answer . Attendance is managed based on
 6   September 14, 2020 at 6 : 54 a.m. " Do you see               6       physical presence in the building for teaching
 7   that?                                                        7       assistants, correct?
 8       A.     Yes, I do.                                        8            A.    Correct.
 9       Q.     Okay. So looking at this portion of               9            Q.    How was attendance measur ed for
10   the email chain, Ms . Dargan sent an email at               10       teachers and students who were permitted to work
11   6:54 a.m. on September 14, 2020, correct?                   11       rerrotely?
12       A.     Yes.                                             12                  MR. RUSHFIELD: Objection to form .
13       Q.     And that email is addressed to Ms .              13            You can attempt to answer.
14   Melton, correct?                                            14            A.    Teachers, each building had their own
15       A.     Correct.                                         15       format of signing in electronicall y. And
16       Q.     And that email states that Ms. Dargan            16       teachers were taking attendance during their
17   has, quot e, not heard from, end quote, Ms.                 17       rerrote meetings elect ronically and marking
18   Melton since the beginning of the school year;              18       students present or absent based on their
19   is that right?                                              19       presence or absence rem:itely.
20       A.     Correct.                                         20            Q.    Okay . So I just want to make sure I
21       Q.     And it further states that t,', s . Melton       21       understand. Teachers were responsible for
22   has been marked absent for September 8th, 9th,              22       recording s t udents ' attendance, correct?
23   10th and 11th; is that right ?                              23            A.    Yes .
24       A.     Correct.                                         24            Q.    Okay . Who ' s responsible for recording
25       Q.     And the email further asserts that Ms .          25       teachers' attendance?

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                                                 Page 62                                                    Page 63
 1       A.     Each building had a system of making        1        Q.    And t hen just looking quickly at this
 2   sure that teachers signed in .                         2   email from Ms. Dargan again, at the end it says ,
 3       Q.     How did Morse Elementary School keep        3   "I need to hear f rem you t oday.
                                                                                               11
                                                                                                    Do you see
 4   track of teachers ' attendance?                        4   t hat?
 5       A.     I don't know specifically other t han       5        A.    Yes, I do.
 6   that they signed in electronically. I don't            6        Q.   Okay . I'd like you to flip back to
 7   know if like the secretary monitored it or the         7   page 1 of Exhibit 4. This is Ms. Melton's
 8   principal monitored it. I can 't speak to that .       8   response to Ms. Dargan's email; is that right?
 9   But each teacher signed in electronically, and         9        A.   Correct.
10   the principals were expected to check in on the       10        Q.   And this was sent at 9:51 a.m. on
11   Google Meets and regularly meet with their            11   September 14, 2020?
12   teacher. So each building had a system to do          12        A.   Correct.
13   so.                                                   13        Q.   And that 's about three and a half
14       Q.     Do you lalow were they responsible for     14   hours after Ms. Dargan's email, right?
15   sending an email saying I'm present today, or         15        A.   Correct.
16   would there be a website they would go to to          16        Q.    If you can flip to page 3 of Exhibit
17   check a box and submit it?                            17   4, and about two-thirds of the way down, there's
18       A.     I don't believe that it was email. I       18   an email from Ms. Dargan to you. Do you see
19   believe t hat it was some electronic system, but      19   that?
20   that was not -- it was irore like checking a box,     20        A.   Is it "I am forwarding this emai l line
21   but they had to type in their name.                   21   of comnunication"?
22       Q.     But something they had to do, a web        22        Q.   That's it, yes. So Ms. Dargan
23   page they had to go to or a portal, an intranet,      23   forwards the email communication to you asking
24   something like that; is that right?                   24   for your assistance, right?
25       A.     Yeah.                                      25        A.   Correct.
                                                 Page 64                                                    Page 65
 1       Q.     And that was at 1:08 p.m. on                1   assistants to teachers that you were referring
 2   September 14, 2020?                                    2   to?
 3       A.     Correct .                                   3       A.     In that particular line, no.
 4       Q.    That's about three hours after Ms .          4       Q.    One rcoment. Do you know was Ms.
 5   Melton responded to Ms. Dargan's original email,       5   Melton present in the virtual classroom on
 6   right?                                                 6   September 8th?                                  I
 7       A.    Correct.                                     7       A.     I do not know.
 8       Q.    And I want to look quickly at the very       8       Q.    Do you know if Ms. Melton was present
 9   last page at the very bottom. There's a line.          9   in the virtual classroom on September 9th?
10   There's no email heading, and I'm not exactly         10       A.     I do not know.
11   sure why, but there is a line that begins, "Dear      11       Q.    What about September 10th?
12   Ms. Melton." Do you see that?                         12       A.     I do not know.
13       A.    I do.                                       13       Q.    And just to wrap it up, what about the
14       Q.    And is that your response to Ms.            14   11th?
15   Melton?                                               15       A.     I do not know.
16       A.    Yes.                                        16       Q.    You don ' t know one way or another
17       Q.    You said that the current function of       17   whether -- I don't know if I said that
18   teaching assistants are to assist teachers with       18   correctly, so I'm going to say it again.
19   instruction, right?                                   19             You don't know one way or another
20       A.    Correct.                                    20   whether Ms. Melton was performing the function
21       Q.    And that incl udes being present in a       21   of assisting teachers with instruction on those
22   virtual classroom while teachers are instructing      22   dates?
23   students, right?                                      23             MR. RUSHFIELD: Objection t o form.
24       A.    Correct.                                    24       You can answer.
25       Q.    Are there any other types of                25       A.    I don't know whether Ms. Melton was

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                                                 Page 66                                                     Page 67
 1   present or not present on those days.                  1   I ' m going to ask i t one more time just to make
 2       Q.    Are you aware of any duty that Ms.           2   sure. You can't point me to a single teaching
 3   Melton was not performing as a teaching                3   assistant duty that Ms. Melton did not ccxnplete
 4   assistant on those dates a lbeit from her home?        4   other than the fact that she was physically in a
 5       A.    I do not specifically know whether           5   different place t han Morse Elementary School on
 6   there were duties or not duties that she was or        6   those days?
 7   was not performing on those days .                     7               MR. RUSHFIELD: Objection to form.
 8       Q.    So you would agree that the only             8         A.    Correct.
 9   complaint that school district has against Ms.         9         Q.    And Poughkeepsie City School District
10   Melton for those days is that she was not             10   doesn't regularly seek to terminate employees
11   physically present in Morse Elementary School?        11   who are performing all of their duties, correct?
12             MR. RUSHFIELD: Objection to form .          12               MR. RUSHFIELD: Objection to form.
13       You can attempt to answer.                        13        A.     The decision to terminate someone
14       A.    I am aware that the concern regarding       14   would be based on a case-by-case basis.
15   Ms. Melton was that she was not physically            15        Q.     Well, if an employee is perfonning all
16   reporting to work on those days.                      16   of their duties satisfactorily, does the
17       Q.    When you say "the concern, 11 you mean      17   district regularly seek to terminate those
18   the only concern, correct?                            18   people?
19       A.    I'm not aware of a specific other           19               MR. RUSHFIELD : Objection.
20   concern.                                              20        A.     There have been instances where a
21       Q.    You don't know of any other concerns        21   teacher may be performing their teaching duties,
22   other than her lack of physical presence on           22   but performing some other behavior that would
23   those days?                                           23   require us to discipline them.
24       A.    Correct.                                    24        Q.     Could you give me an example of
25       Q.    And I believe you answered this, but        25   another behavior that would require discipline?
                                                Page 68                                                     Page 69
 1        A.    We terminated a teacher this year who       1   Exhibit 3 again, which is the welcome baclc memo.
 2   had pulled a fire alarm. And after having gone         2   Let me know when you have it pulled up.
 3   through other procedures previously where he had       3       A.    For some reason I can't open it .
 4   also pulled the fire alarm, he was terminated          4       Q.    I can resend it. I' 11 resend it
 5    through the 3020-a process. That was not              5   through the chat, and hopefully you will be able
 6   directly related to his instructional duties.          6   to open it again.
 7        Q.    That is a crime, though, correct, to        7       A.    Okay.
 8   pull a fire alarm when there is not a fire,            8       Q.    All right?
 9   right?                                                 9       A.    Yes .
10              MR. RUSHFIELD: Objection to form.          10       Q.    So there are a number of numbered
11        A.    Yes.                                       11   paragraphs at the bottom of the first page of
12        Q.    And it's an expectation of teachers        12   this. Do you see those?
13   that they will follow state, local and federal        13       A.    Yes.
14   law, correct?                                         14       Q.    I'd like to look at numbered paragraph
15        A.    Yes.                                       15   2 that begins, "The Health Check survey.• Do
16        Q.    Okay. And do you have any example of       16   you see that?
17   Ms. Melton engaging in any conduct that would         17       A.    I do.
18   require her discipline other than failure to          18       Q.    So this reads, "The Health Checlc
19   perform her duties?                                   19   survey must be completed no earlier than two
20        A.    I'm not directly aware of any conduct      20   hours before entering the building, 11 right?
21   regarding Ms . Melton.                                21       A.    Correct .
22        Q.    That would require discipline,             22       Q.    What is a Health Check survey?
23   correct?                                              23       A.    It was a survey that asked a series of
24        A.    That would require discipl ine.            24   questions to screen individuals before they came
25        Q.    I'd like you to look back now at           25   into the bui lding.

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                                                   Page 70                                                     Page 71
 1       Q.     When you say "screen individual s,"           1        A.     There were - - there was a nurse and
 2   what do you mean by that?                                2   there were a couple other administrators and two
 3       A.     I t asked them about whether or not           3   secretaries that were involved.
 4   they had a fever , if they had any symptoms of a         4        Q.     Can you list t he names of the people
 5   sort, and it asked, you know, about t ravel , a          5   t hat you remember?
 6   couple other things.                                     6        A.     Yes. Kristina Giangreco was the
 7       Q.     And was this Health Check form                7   director of special projects .
 8   something that Poughkeepsie City School District         8        Q.     You might have to go slow and you
 9   has always had implemented, or was this new for          9   might have to spell names for court reporter to
10   the 2020- 2021 school year?                             10   make sure we're getting everything accurately.
11       A.     This was specifically as a result of         11   You can go ahead and list the names.
12   the pandemic.                                           12        A.     James Oakes was the director of
13       Q.     So it was new for the 2020 - 2021 school     13   safety, security and transportation. Joann
14   year, right?                                            14   Bardin was the school nurse. Darby Jones is a
15       A.     To the best of my knowledge, yes, it         15   secretary for the nurses. And Deanna Singleton
16   was new. I mean, I don't know -- for the '20- 21        16   is a nurse -- I'm sorry -- a secretary in HR.
17   school year, this was a new form and a new              17        Q.     Is that everyone that you remember?
18   process.                                                18        A.     Mr. Russo, who's the director of PE,
19       Q.     We might have talked about this              19   athletics and health services, joins the
20   earlier, but did you create the Health Check            20   comnittee at some point, but I don ' t believe
21   form?                                                   21   that he was there in the beginning in September
22       A.     I was part of the team that created          22   when the Health Check survey was developed, end
23   the Health Check form .                                 23   of August .
24       Q.     Who else was involved in creating the        24        Q.     You referred to this as a comnittee.
25   Health Check form?                                      25   Was this one of the seven conmittees that we
                                                  Page 72                                                      Page 73
 1   discussed earlier?                                       1   worked with quite a bit. So there were models
 2        A.   No. This was an internal group of              2   out there by this point of rec001rendations. And
 3   primarily administrators implementing processes          3   so we had looked at what New York City Public
 4   and procedures.                                          4   Schools had done and a number of other places.
 5        Q.   Did anybody - - sorry.                         5   And we based our decisions on guidance of what
 6        A.   I created it, so I invited everyone to         6   we've read and examples that other places
 7    join.                                                   7   started using.
 8        Q.   Did you have any experience creating           8       Q.     So is it fair to say that you
 9   Health Check surveys or questionnaires prior to          9   collected examples and made any adjustments that
10   this?                                                   10   you had dee!l'ed were necessary to tailor the form
11        A.   No.                                           11   to your particular circumstances?
12        Q.   Did anybody on that comnittee have            12              MR. RUSHFIELD: Objection to form.
13   experience creating Health Check surveys or             13       A.     Correct.
14   questionnaires prior to this?                           14             MR. CARMAN: There was an objection,
15        A.   The nurse may have, but that would            15       Mr. Rushfield?
16   have been the only individual.                          16             MR. RUSHFIELD: To form, yes.
17        Q.   And you're not aware of any specific          17             MR. CARMAN: I just want to make sure
18   experience that the nurse had regarding creating        18       it gets on the record for you.
19   these types of forms, right?                            19             MR. RUSHFIELD: Right. Again, Dr.
20        A.   Yes.                                          20       Wade, pregnant pause.
21        Q.   So how did you go about deciding what         21             THE WITNESS : Yes.
22   questions should be included on the Health Check        22             MR. RUSHFIELD: Thank you.
23   survey?                                                 23       A.    Correct . We used examples and
24        A.   1'he state and several agencies               24   guidance from the state or the local health
25   including Dut chess County Health Department, we        25   department .

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                                                  Page 74                                                      Page 7 5
 1       Q.     Okay. Ot her than paragraph 2 of the         1   i nstruct i ons were provi ded during that sess i on
 2   welcome back memorandum, Exhibit 3, were there          2   r egardi ng the Heal t h Check survey?
 3   any other instructions pr ovided to employees           3        A.      We went over i t, r eviewed i t .
 4   regardi ng completion of t he Health Check form?        4        Q.      Okay. Did you show a copy of the
 5       A.     On the super intendent's conf erence         5   Health Check survey t o the attendees?
 6   day, one of the sessions was Ms. Giangreco and I        6        A.      I believe so .
 7   going over all of the same - -                          7        Q.      I s that a yes?
 8                (Technical interrupt ion.)                 8        A.      Yes.
 9       Q.     You cut out there for a second.              9        Q.      You referred to a conference day; is
10       A.     I think I 'm back.                          10   that right?
11       Q.     Okay. Now you ' re back. I '11 ask that     11        A.      Correct.
12   question again, and we'll just do that question        12        Q.      This is the conference day that
13   over.                                                  13   occurred on September 8th that is referred to in
14              Other than paragraph 2 of Exhibit 3,        14   the second unnumbered paragraph of Exhibit 3?
15   were there any other instructions provided to          15        A.      Correct.
16   employees regarding completion of the Health           16        Q.      So this session regarding the
17   Check foim?                                            17   protocols for health and safety and returning to
18       A.     On the superintendent ' s conference        18   school, that was conducted virtually?
19   day, Ms. Giangreco and I offered a session that        19        A.      Correct . Ms . Giangreco and I were in
20   went over all of the safety protocols. It would        20   her office, but all of the attendees were
21   have included the Health Check survey, but it          21   virtual.
22   would have also talked about mask wearing,             22        Q.      Do you recall did you screen share the
23   social distancing, hand hygiene, those kinds of        23   Health Check survey?
24   things.                                                24        A.      I do not specifically remember that,
25       Q.     Do you recall specifically what             25   but I do know that we had a slide show.
                                                 Pag e 76                                                      Page 77
 1       Q.     So -- strike that .                          1   and I will direct your attention to paragraph 3,
 2              Did you provide instructions on how to       2   m.mibered paragraph 3 , which is on the second
 3   access the Health Check survey?                         3   page, this paragraph begins, 11 If you have been
 4        A.   We shared that it was on each of the          4   unable to enter the building because you
 5   building websites, the district website. We had         5   answered yes to any questions on the Health
 6   also made a QR code and put it on the front door        6   Check Survey. 11 Do you ste that?
 7   of every building so that teachers could go up          7       A.     Yes.
 B   with their phones and complete it that way.             B       Q.     And I just want to make sure I
 9        Q.   Was that session that you gave with --        9   understand. For the Health Check survey, the
10   what was the other person ' s name?                    10   employee must access it no more than two hours
11        A.   Kristina Giangreco.                          11   before they plan to enter the buil ding, correct?
12        Q.   Was the section that you gave with Ms.       12       A.     Correct.
13   Giangreco, was that session recorded?                  13       Q.     And the Health Check survey includes a
14        A.   I don't believe we recorded it, no .         14   number of questions, right?
15        Q.   Was attendance at that session               15       A.     Correct.
16   mandatory for employees?                               16       Q.     And if an employee answers yes to any
17        A.   Yes. All employees had to sign in. I         17   one of those questions, they are prohibited from
18   believe they had to sign in for the a.m., and          18   entering the building, correct?
19   then there were four a.m. sessions and then the        19       A.     Correct.
20   p.m.                                                   20       Q.     Answering yes to any of those
21        Q.   And how was that mandatory attendance        21   questions would supersede the instruction at the
22   enforced?                                              22   beginning of the mem:,randum that staff must be
23        A.   We collected all of the signatures and       23   physically present in the building, correct?
24   then sent them to the buildings.                       24       A.     For that day, correct.
25        Q.   If you look back at Exhibi t 3 again,        25       Q.     Okay . Now, paragraph 3 continues that

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                                                   Page 78                                                     Pa ge 79
 1   if you do answer yes, you must be evaluated by a         1       Q.     You think it was changed after it went
 2   medical provider, right?                                 2   live; is that correct?
 3       A.     Correct.                                      3       A.     As the pandemic continued on, there
 4       Q.     Does paragraph 3 specify a t i me frame       4   were some regulation changes along the way, and
 5   in which such an evaluation must take place?             5   so we did change the form.
 6       A.     No.                                           6       Q.     But you don ' t think the form said you
 7       Q.     Was there any expectation comnunicated        7   need to immediately or as soon as possible visit
 8   to employees as to how quickly that evaluation           8   your doctor when it went live initially,
 9   must take place?                                         9   correct?
10       A.     We conmunicated, when people asked, as       10       A.     Correct.
11   soon as possible. And we comnunicated that              11       Q.     Does the Heal th Check form provide
12   unless they had a Department of Health                  12   instructions for the situation where a person
13   quarantine notice, that they would need to use          13   answers yes to one of the questions but is
14   their sick days unless they reported to work, if        14   physically able to perform the functions of
15   they were required to report to work.                   15   their job remotely?
16       Q.     But there was no specific time frame         16       A.     It doesn't speak to that, no.
17   conmunicated to errployees during which they had        17       Q.     Did the school district provide any
18   to schedule and attend an examination with a            18   instructions to employees for the situation
19   doctor?                                                 19   where a person answers yes to one of the
20              MR. RUSHFIELD: Objection to form.            20   questions on the Health Check form but is
21       You can answer.                                     21   physically able to perform the funct i ons of
22       A.     I believe that on the Health Check           22   their job remotely?
23   survey, we changed it to say either inmediately         23       A.     Unless individuals received an order
24   or corcrnunicating quick notice to have it - - have     24   of quarantine, we corrmunicated with them that
25   people be evaluated.                                    25   they eit her needed to use their leave days or
                                                  Page 80                                                      Page 81
 1   come to work.                                            1       A.    It varied at different times through
 2       Q.    So I want to make sure I understood            2   the process.
 3   that correctly. If an employee answered yes to           3       Q.    Let' a say at the beginning of
 4   one of the Health Check survey questions and was         4   September, do you know about how long it would
 5   physically prohibited from entering the                  5   have taken to get an order of quarantine the
 6   building, but the employee was able to perform           6   first week of September in 2020?
 7   their job functions from a different location,           7       A.    It would have taken probably a couple
 8   the school district did not consider that as an          8   of weeks perhaps.
 9   option?                                                  9       Q.    So from t he first time a person who is
10             MR. RUSHFIELD: Objection to form.             10   potentially exposed to COVID contacts the New
11       You can answer.                                     11   York State Health Department to the time that
12       A.    Unless they had an order of                   12   they get an order of quarantine would have been
13   quarantine.                                             13   a period of a few weeks?
14       Q.    Do you know the process for getting an        14       A.    Couple of weeks, yes.
15   order of quarantine?                                    15       Q.    A couple of weeks. And then how long
16       A.    You go through the health department          16   was the quarantine period? Do you know?
17   if you get a positive test and the physician            17       A.    It was originally 14 days. It's since
18   conmunicates that. If you are close to someone          18   gone to 10 days.
19   in which someone tests positive, then there is a        19       Q.    So if an employee answers yes to one
20   process of contact tracing. The health                  20   of the Health Check survey questions and is
21   department is informed, and then they email you         21   physically prohibited from entering the
22   an order of quarantine if you ' re deemed a close       22   building, it's your estimation that they would
23   contact .                                               23   be required to use approximately two weeks of
24       Q.    Do you know how long it takes to get          24   their leave time before they obtained an order
25   an order of quarantine?                                 25   of quarantine; is that correct?

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                                                  Page 82                                                     Page 83
 1              MR. RUSHFIELD: Objection to follll . Is      1               If the county health department
 2        this relating to the beginning of t he school      2   conrnunicated to t hem that they were under
 3        year or throughout the school year?                3   quarantine but actually had not received the
 4              MR. CARMAN: Relating to the beginning        4   email yet directing t hem to be in quarantine ,
 5        of the school year.                                5   once they got that order of quarantine, we would
 6        A.    It was the expectation of the school         6   credit t hem days of their own sick leave i f they
 7   district for indi viduals to use their leave t ime      7   had taken sick leave during that time.
 8   unless t hey received an order of quarantine. If        8              So for example , if someone got their
 9   they provided us wi th an order of quarantine,          9   or der of quarantine quickly, we just wouldn't
10   then we would credit them t he days . The order        10   take the days from them, their l eave days. But
11   of quarantine l ists specific dates .                  11   if , in fact, it took two weeks to get the email
12        Q.    There was a lot in that answer, and I       12   and they forwarded us that email, then we would
13   think it was partially responsive, so I 'm going       13   credit them their leave days so they would not
14   to try and break it down and see if we can walk        14   have used their own leave days.
15   through it step by step.                               15        Q.    Was that policy conmunicated t o
16              The first thing I want to address is        16   employees prior to the start of the 2020-2021
17   the statement where you said if you received an        17   school year?
18   order of quarantine, the school district               18        A.    Yes. I believe that we went over
19   received an order of quarantine from the               19   that, you know, during that initial
20   empl oyee, that they would be credited for             20   comnuni cation that we had.
21   ce1tain dates; is that right?                          21        Q.    When you say "that initial
22        A.    Correct. So your original question          22   conrnunication, " are you refe rring to the
23   was what did we expect employees to do. And so         23   conference day on September 8th?
24   if they knew they -- if they were out sick, then       24        A.    Correct. And also I met with all of
25   they were taking their own leave days .                25   the union presidents along the way and
                                                 Page 84                                                      Page 85
 1   corrmunicated that as well .                            1         ask a different question.
 2       Q.     So if a Poughkeepsie City School             2         Q.    Why does Poughkeepsie City School
 3   District employee answers yes to any of the             3   District employ teaching assistants?
 4   questions on the health care form and is                4               MR. RUSHFIELD: Objection to form .
 5   physically prohibited from entering the                 5         A.    The Poughkeepsie School District
 6   building, is it t he school ' s -- was it the           6   employs teaching assistants most often to assist
 7   school's policy at the beginning of the '20 -21         7   in specific classes within the district, either
 8   school year that that employee should not wor k         8   outlines through special education regulations
 9   at all on that day?                                     9   or preschool regulations. There are some other
10              MR. RUSHFIELD: Objection to form.           10   teaching assistants that perform other duties.
11       You can answer.                                    11         Q.    What other duties?
12       A.     If the employees, all of the employees      12         A.    For example, Ms. Melton was assigned
13   except the teachers, were expected to come to          13   in a computer l ab for her assignment originally.
14   school, yes, they were expected to either              14         Q.    And i s having a teaching assistant in
15   physically report to work or use their own leave       15   a corrputer lab required by a regulation that
16   days.                                                  16   you ' re aware of?
17       Q.     When you say "use their own l eave          17         A.    It is not.
18   days, " you mean not work at all, correct?             18         Q.    So why does Poughkeepsie City School
19       A.     Correct.                                    19   District have a teaching assistant working in a
20       Q.     Would you agree that it's better for        20   computer lab?
21   the students at Poughkeepsie City School               21        A.     They actually have gone away from that
22   District to have teaching assistants performing        22   model in hiring more librarians. But my
23   their duties than to be out sick?                      23   understanding at the time is that some teaching
24              MR. RUSHFIELD: Objection to form.           24   assistants were assigned to computer labs to
25              MR. CARMAN: I will withdraw that and        25   assist with students accessing computer skills.

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                                                  Page 86                                                    Page 87
 1         Q.    So is it fair to say that Poughkeepsie      1        you can answer it, answer it.
 2   City School District thinks that having a               2        A.    Whenever assigning teaching assistants
 3    t eaching assi stant in a computer lab is              3   to positions, the goal always is to provide a
 4   beneficial to the students ' education?                 4   benefit to students . I can't think of a reason
 5               MR. RUSHFIELD: Objection to form.           5   why a posi tion would be created when the school
 6         A.    The Poughkeepsie City School District       6   district did not think that it would be a
 7   has utilized a model in which teaching                  7   benefit .
 8   assistants were -- they felt that using teaching        8        Q.    So you would agree then that it would
 9   assistants in the computer lab was beneficial.          9   be the Poughkeepsie City School District 's
10         Q.    I think you answered my question, but      10   preference to have t heir teaching assistants
11   I'm not sure. I feel like that's a                     11   performing their functions as opposed to being
12   straightforward question.                              12   out sick not performing their functions,
13               MR. RUSHFIELD : Objection.                 13   correct?
14         A.    I think that --                            14              MR. RUSHFIELD: Objection.
15         Q.    I'm going to interrupt you because         15        A.    Correct.
16   there 's no question pending.                          16        Q.    Sorry. Coul d you repeat that answer?
17               MR. RUSHFIELD: Ask another question.       17   I just want to make sure it's clear on the
18               MR. CARMAN: That's what I'm doing .        18   r ecord.
19         Q.    can you think of a reason why              19        A.    Correct .
20   Poughkeepsie City School District would employ a       20        Q.    Woul d you agree that despite the
21   teaching assistant in the computer lab if they         21   mandate that teaching assistants physically
22   did not believe that that teaching assistant           22   report to their respective buildings, they
23   provided a benefi t to the students or the             23   nonetheless could perform the functions of their
24   teachers?                                              24   jobs remotely?
25               MR. RUSHFIELD: Objection to form. If       25              MR. RUSHFIELD: Objection to form.
                                                 Page 88                                                     Page 89
 1       A.    Could you repeat the question?                1   the building?
 2       Q.    Sure. Woul d you agree that despite           2        A.    I can't specifically identify a task
 3   the mandate that teaching assistants physically         3   that they required them to do, but I do know
 4   report to the bui lding, they nonetheless could         4   that they had them wor k while they were in the
 5   perform the functions of their jobs reirotely?          5   building .
 6             MR. RUSHFIELD: Objection to the form          6     j Q. But you can ' t identify any particular
 7       of the question.                                    7   task, correct?
 8       A.    I agree that they could fulfill a             8       A.     Correct.
 9   portion of their duties remotely, yes.                  9       Q.     All right . Would you agree that the
10       Q.    Okay. Which portion do you think they        10   Poughkeepsie City School District or the
11   could not fulfill remotely?                            11   students of the Poughkeepsie City School
12       A.    Those portions that the principal            12   District benefit from a teaching assistant
13   would ask them to do while they were in the            13   performing their duties as opposed to not
14   building.                                              14   performing their duties even if that performance
15       Q.    Are you aware of any principal asking        15   is done remotely?
16   a teaching assistant to perform a function that        16              MR. RUSHFIELD: Objection to form and
17   required their physical presence in the building       17       asked and answered. You can answer it.
18   during the '20- 21 school year?                        18       A.     I agree that it is better for teaching
19       A.    Yes, I believe that they perfonned           19   assistants to perform their duties than not
20   tasks in the buildings for the principals while        20   perform their duties.
21   they were present.                                     21       Q.     Even if that performance is done
22       Q.    Can you give ire an exarrple of a            22   remotely?
23   specific task that a principal asked a teaching        23       A.     I don't agree that the desired
24   assistant to perform during the '20- 21 school         24   position is to conduct the jobs remotely.
25   year that required their physical presence in          25       Q.     I didn't ask what the desired position

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                                                  Page 90                                                    Page 91
 1   was. I asked if it ' s better to have it done           1   to always perform the duties i n person.
 2   remotely than to have it not done at all.               2       Q.     Very quickly, I want to look at the
 3               MR. RUSHFIELD: Counsel, you are             3   last paragraph of the Exhibit 3 that begins
 4        actually asking his position. I think he's         4   "Additional updates. " Do you see t hat?
 5        giving you his position. If you want to ask        5       A.     Yes.
 6        the question again, I'll allow him to answer       6       Q.     That paragraph says, "Additional
 7        it .                                               7   updates will be provided periodically as we
 8               MR. CARMAN: Well, he 's giving his          8   learn m:>re about reopening and as more detailed
 9       position on a different question, not the           9   guidance becomes available. " Were any
10       question I asked.                                  10   additional updates provided?
11               MR. RUSHFIELD : I'm not sure I agree ,     11       A.     I believe that there was one more
12       but why don't you just ask it again and            12   letter that was put out and we regularly put out
13       we ' 11 see what answer you get.                   13   updates. The superintendent has a
14       Q.      Sure. Would you agree that the             14   superintendent's brief where he regularly put
15   Poughkeepsie City School District or the               15   out updates. There were messages on the school
16   students of the Poughkeepsie City School               16   messenger, those kinds of things, so there were
17   District benefit from a teaching assistant             17   periodic updates .
18   performing their duties even if that performance       18       Q.     And how would those periodic updates
19   is remote?                                             19   be comnunicated?
20               MR. RUSHFIELD: Objection to form.          20       A.     Through email primarily. And we had a
21       The question is in the conjunctive . You can       21   web page. We had things on the web page.
22       attelll)t to answer it.                            22       Q.     It's noon and I 'm about to move on to
23       A.      I agree that it is better for teaching     23   another topic, so if we want to break for lunch,
24   assistants to perform their duties than not to         24   it might be a good time to do it. But again,
25   perform their duties. The desired position is          25   Dr. Wade, I defer to you. If you would like to
                                                 Page 92                                                     Page 93
 1   keep going, we can keep going.                          1   j ust let    know .
                                                                             me
 2       A.    I would say that, you know, if it's           2        A.    Yep.
 3   going to be another hour or so, then I'd prefer         3        Q.    so I'm going to send Exhibit 5 through
 4   to just keep going. If you think it's going to          4   the chat here. So I'm marking as Exhibit 5 the
 5   be three more hours, we could take a short              5   Poughkeepsie City School District Health Check
 6   break.                                                  6   form.
 7       Q.    You mean to conclude the entire               7              (Plaintiff's Exhibit 5 was
 8   deposition?                                             8              marked for identification.)
 9       A.    Right . I don't know how long the day         9              MR. RUSHFIELD: I 've got it. As long
10   is going to be.                                        10        as the witness has it, we're all set .
11       Q.    It's likely going to be more than just       11        A.    This is Exhibit 5, right?
12   another hour, so if you would like to break, I         12        Q.    Yes.
13   think that we should probably do that.                 13        A.    The only thing it will come back to is
14       A.    Okay. I mean, if you think it 's going       14   the letter.
15   to be another three hours, then we could take          15        Q.    If you'd like, I can screen share this
16   like a half hour break.                                16   one . It is a somewhat strangely shaped PDF.
17       Q.    That's fine with me. It's hard to            17        A.    For whatever reason, it won't open.
18   anticipate these things because it largely             18        Q.    We will try and screen share this one.
19   depends on the interactions.                           19   Can you see that okay?
20       A.    I don't want to log off because it           20        A.    Yes.
21   took me such a great deal of difficulty to log         21        Q.    All right. I will very quickly just
22   in to begin with. So I would just rather               22   scroll through so you get a sense of the entire
23   keeping going while it's working .                     23   document.
24       Q.    All right. We will keep going. If at         24              Have you seen this document before,
25   any point you decide you want to take a break,         25   Dr . Wade?

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                                                 Page 94                                                    Page 9 5
 1       A.      I'm sorry. You broke up.                   1   click "Submit," r ight?
 2       Q.     Have you seen thi s document before?        2       A.     Correct.
 3       A.     Yes, I have seen this document .            3        Q.    And what happens after the employee - -
 4       Q.     And what i s thi s document?                4   let me rephrase t hat .
 5       A.     This is the Health Check fo1m for the       5              What happens to the data in this sheet
 6   Poughkeepsie School District .                         6   after an employee clicks the "SUbmit" button?
 7       Q.     And this is the Health Check form that      7       A.     Each of the buildings could look at
 8   was refer red to in paragraph number 2 of Exhibit      8   their own tab. Kristina Giangreco created the
 9   3; is that correct?                                    9   form, and so she can look at every building.
10       A.     Correct.                                   10   But the names and, you know, whether they said
11       Q.     If you take a look here at the top, in     11   yes or no would be recorded. And then the
12   this top box, that appears to be instructions.        12   principal or the principal's secretary could
13   The first paragraph says, "Prior to entering any      13   check to make sure that the people entering
14   building in the Poughkeepsie City School              14   checked.
15   District, you must complete the following health      15       Q.     Okay. So you referred to a tab. I
16   check form . If you answered yes to any of these      16   think you said each principal could look at
17   questions, you cannot enter the building."            17   their tab; is that right?
18              Do you see that?                           18       A.     Correct. So if you scroll up a
19       A.     I do.                                      19   little --
20       Q.     I'm going to scroll down very quickly      20       Q.     Tell me when.
21   all the way to the bottom. So you see there's a       21       A.     Keep going. Stop. So by hitting one
22   "Submit" button here at the bottom, correct?          22   of these buttons here, it would take the
23       A.     Correct.                                   23   inforrnation and allow it to be in that t ab .
24       Q.     And so an employee would access this       24       Q.     So is there a web portal somewhere
25   Health Check form, answer the questions and then      25   that aggregates this information?
                                                Page 96                                                     Page 97
 1               (Technical interruption.)                  1   at every building, and so they look at that in
 2       Q.    Are you there, Dr. Wade?                     2   real time . If someone did not fill out the form
 3       A.    Yes, I'm here.                               3   electronically and they couldn't see it, there
 4       Q.    Let me know if you need me to repeat         4   were paper forms in every building. So then the
 5   that question.                                         5   individual coming into the building would need
 6       A.    The last thing I heard was is it like        6   to complete the paper form. So no one got into
 7   a portal.                                              7   the building without either the greeter seeing
 8       Q.    Yeah. Is there a web portal?                 8   it or corrpleting the paper form.
 9       A.    It's part of the Google platform, so         9        Q.    Okay. I think I understand, but I
10   it comes out like a Google sheet or an Excel          10   want to take a step back and walk through the
11   spreadsheet.                                          11   steps. Employees have the option to fill this
12       Q.    Okay. And so was that information           12   out within two hours of coming to the building
13   saved locally within the Poughkeepsie City            13   from their own home, correct?
14   School District as well as saved in the Google        14       A.     Correct .
15   cloud?                                                15       Q.     Okay. And once they hit the "SUbmit"
16       A.    Kristina Giangreco can access it, and       16   button, that data is submitted through the
17   each of the buildings can look at their data          17   Google platform to the school, correct?
18   responses. I actually don't know how far back         18       A.     Correct.
19   they can go, but I know that Kristina can go          19       Q.     And then there's a person, a hl.lnall
20   back - -                                              20   being, who's a greeter at each school that can
21       Q.    Do you know how often the results of        21   nnnitor in real time the data on the Google
22   these submissions are checked by any                  22   platform for that particular school, correct?
23   administrators in the Poughkeepsie City School        23       A.     Correct.
24   District?                                             24       Q.     Okay . And then when an employee comes
25       A.    The process was that there's a greeter      25   to the school, they must go past that greeter,

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                                                 Page 98                                                    Page 99
 1   right?                                                 1   electronically submitted Health Check forms for
 2       A.    Correct.                                     2   any purpose?
 3       Q.    And they will i nform that greeter           3             MR. RUSHFIELD: Objection to form.
 4   either that they need to complete the Health           4       You can answer.
 5   Check form or that they previousl y completed the      5       A.    The principal would review with the
 6   Health Check form, right?                              6   greeters, but they wouldn't do it in real time.
 7       A.    Correct.                                     7   And I can't speak to each individual person's
 8       Q.    And if they say that they previously         8   frequency. There have been times when Kristina
 9   completed the Health Check form, the greeter           9   Giangreco has gone back to get information, so
10   will then reference the real time list in front       10   she has done it periodically.
11   of them to ensure that that is, in fact, true,        11       Q.    So if an employee answers yes to any
12   right?                                                12   of these questions, is there anybody who
13       A.    Correct.                                    13   monitors the results on a daily basis to contact
14       Q.    And if it is true and they answered no      14   that person?
15   to all the questions, then they are permitted         15       A.     I would say that it woul d be done
16   entry, right?                                         16   differently. If someone reported yes, the
17       A.    Correct.                                    17   principal may want to know why it was yes or the
18       Q.    If they are not on that list or they        18   employee may go home and take a sick day. But
19   have not previously completed the Health Check        19   they wouldn't be allowed in the building.
20   form, then they are provided with a paper copy        20       Q.    Right, okay. So if an employee fills
21   to fill out at that point in time, right?             21   this out from their home, they never actually
22       A.    Correct.                                    22   show up physically to the building and they
23       Q.    Okay. Other than the real time access       23   answer yes to one of the questions and therefore
24   to the building, is there anybody else who            24   do not come in, is there any established
25   regularly reviews the results of the                  25   procedure at the Poughkeepsie City School to
                                                Page 100                                                   Page 1 01
 1   then contact that employee regarding their yes         1   question of exposure to COVID, there was a
 2   submission on a given day?                             2   procedure for nurses to complete contact
 3        A.    There would not necessarily be a            3   tracing.
 4   standard procedure to contact them for the yes .       4       Q.     Okay . So there was no established
 5   There would be a standard procedure for marking        5   process in a school for, say, remin~g
 6   them absent. Typically, if an errpJoyee is             6   employees that because you answered) yes, you
 7   absent for several days in a row, the principal        7   must go see a doctor and submit the requested
 8   does reach out to them to make sure that they're       8   information following filling out the Health
 9   okay.                                                  9   Check survey?
10       Q.     Okay . But on any given day if an          10       A.     For one day, no. But for several
11   employee answers yes and does not come in,            11   days, there would be a reach out to see what the
12   nobody from the school district will contact          12   issue was.
13   them to ensure that they go see a doctor or to        13       Q.     And who's responsibl e for determining
14   inquire as to the nature of their reasons for         14   how many days is sufficient to warrant reaching
15   affirmatively answering the survey?                   15   out to an employee?
16       A.     Typically, the employee contacted          16       A.     Typically, we use three days, and then
17   their principal, who then in turn contacted me        17   you're required to get a doctor's note. So
18   if there was a question of exposure. And so           18   typically in three days there would be.
19   over the course of the time, if the concern was       19       Q.     So you say "typically. 11 Is that just
20   that someone was exposed to someone who had           20   an accepted practice, or is that written down
21   COVID, there would be contact tracing, and so         21   somewhere?
22   the nurses would call them.                           22       A.     It is an established practice .
23              Yes, on -- for example, if your            23       Q.     And when you say it's an established
24   temperat ure is above a hundred once would not        24   practice -- and I think what you were referring
25   necessarily generate that . But if there was a        25   to was any absence for three days; is that

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                                                   Page 102                                                        Page 103
 1   correct?                                                  1   complete t he survey elect ronically. That was
 2        A.     Cor r ect.                                    2   m:>re of a convenience. So if someone had not
 3        Q.     Not spec i fica l ly r elated to COVID        3   done it el ectronically, they coul dn't have
 4   protocols or the Heal th Check form , right?              4   gotten in the buildi ng wi thout completing it by
 5        A.     Correct.                                      5   paper. But we di d not rronit or whether saneone
 6        Q.     Do you know if i t was comnunicat ed t o      6   f illed it out elect roni cally or by paper .
 7   Poughkeepsie City School Dist rict empl oyees that        7        Q.    Okay. So t here ' s nobody, say, at the
 8   the standard practice of t hree consecutive days          8   end of a day or week who's comparing the
 9   would require t he same informat ion as previous          9   submissi ons -- the people who complet ed the
10   practice with r elation to absences for                  10   Health Check survey submissions, whether
11   i llnesses?                                              11   electronically or on paper, with the total list
12        A.     No.                                          12   of employees who were expected to be in the
13        Q.     Okay.                                        13   building to see if anybody was not filling them
14        A.     We didn't treat COVID differently, so        14   out either on paper or electronically?
15   it would have just been the standard practice.           15        A.    Correct.
16   We did not comnunicate to do that specifically           16        Q.     I 'm going to stop sharing my screen
17   for COVID.                                               17   now.
18        Q.    Does anybody at Poughkeepsie School           18               I have just shared Exhibit 6. Let me
19   District review the submissions to determine             19   know if you're able to open that or not.
20   whether anyone is not filling them out?                  20               (Plaintiff's Exhibit 6 was
21              MR. RUSHFIELD: You're talking about           21              marked for identi fication.)
22        the surveys?                                        22              MR . RUSHFIELD: I was able to ~en it.
23              MR. CARMAN: Yes, the Health Check             23        Dr . Wade, how is it going?
24        surveys.                                            24              TIIE WITNESS: It's not going well. I
25        A.    There was not a requirement to                25        don't know if it's just opening behind, so
                                                   Page 104                                                       Page 105
 1        I 'm trying to move screens and s ee                 1   teachers to come in and set up their rooms .
 2        if instead of opening in front, it's opened          2        Q.      And who told you that?
 3        behind.                                              3        A.      Ms. Penn shared it with Ms . Dargan, I
 4               MR. CARMAN: It might help just to try         4   believe . Ms. Penn is the assistant - - or was at
 5        to cat1pletely close Acrobat and just open it        5   the time the assistant principal at Morse
 6        fresh . I don't know if that would help or           6   Elementary School . And she was the one that
 7        not.                                                 7   created it, I believe.
 8               I'm just going to open it up and go           8        Q.     Okay. And this document is labeled
 9        ahead and share my screen so we can keep             9   Mor se Staff Health Check, correct?
10        moving .                                            10        A.     Correct.
11               TIIE WITNESS: Sorry.                         11        Q.      And just to be clear, Ms. Melton is a
12               MR. CARMAN: It's not your fault. We          12   Mor se staff member, right?
13        will work around it.                                13        A.     Correct.
14        Q.     Can you see this?                            14        Q.      Do you know how this document was - -
15        A.     I do see this, yes.                          15   do you know whether this document, this Health
16        Q.     Okay. So I will just quickly scroll          16   Check form, was comnunicated to Morse staff?
17   through so you get a sense of the entire                 17        A.      I do not know how it was carmunicated
18   document. This is being marked as Exhibit 6,             18   with Morse staff .
19   the Morse Staff Health Check form. Have you              19        Q.      I just want to clarify that answer
20   seen this document before, Dr. Wade?                     20   because I changed the question in the mia:lle,
21        A.     I only saw this in preparation for the       21   which is totally my fault, but I 'm going to
22   3020-a hearing .                                         22   reask the question .
23        Q.     Okay. Do you know what this is?              23               Do you know whether this document was
24        A.     What I was told was that it was a            24   cO!llTiunicated t o Morse staff t o f ill out prior to
25   Heal th Check survey that was used in August for         25   entering the building?

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                                                 Page 106                                                   Page 1 07
 1       A.     I do not know whet her it was                1       A.     Yes, I understand.
 2   corrmunicated to Morse staff.                           2       Q.     Okay. But you d idn't think you needed
 3       Q.     Who would know whether this was              3   to ask anybody at the school district about this
 4   conmunicated to Morse staff? And when I say             4   Health Check form in preparation for your
 5   "this," I mean this Health Check form, Exhibit          5   deposition?
 6   6.                                                      6       A.     I did not.
 7       A.     Ms . Penn, who was the assistant             7       Q.     Okay . This might short- cir cuit some
 8   principal, my understandi ng is she created it.         8   of this questioning, but I'm going to run
 9   I'm sure she would know how it was cormnmicated         9   through quickly anyway.
10   to Morse School staff.                                 10              Just looking at the first paragraph
11       Q.     In preparation for your deposition          11   here, it r eads, quote, Please complete
12   today, did you ask anyone at Poughkeepsie City         12   information each day prior to arriving at Morse
13   School District for information or context             13   Elementary School. If you answer yes - -
14   regarding Exhibit 6?                                   14              MR. RUSHFIELD : "To Morse Elementary
15              MR. RUSHFIELD: Objection to form. Go        15       School." You said "arriving at."
16       ahead.                                             16              MR. CARMAN: Thank you for that
17       A.     I did not ask anyone about Exhibit 6        17       correction .
18   in preparation for my deposition today.                18       Q.     The first paragraph reads , quote,
19       Q.     Okay. But you do understand that            19   Please complete information each day prior to
20   you've been designated under Topic 11 of the           20   arriving to Morse Elementary School. If you
21   deposition notice to Poughkeepsie City School          21   answer yes to any questions do not, in all caps,
22   District as the district's representative              22   come in, and you will be contacted, end quote.
23   regarding the district's policies and procedures       23   Did I read that correctly?
24   for responding to COVID 19, including Health           24       A.     Yes.
25   Check forms?                                           25       Q.     Okay. So I first want to look at the
                                                 Page 108                                                   Page 109
 1   phrase "complete information each day." Do you          1       Q.    In your understanding.
 2   see that?                                               2             MR. CARMAN: The objection is noted.
 3       A.    Yes.                                          3       A.    There is no limit as to the days in
 4       Q.    You would agree that these                    4   this form.
 5   instructions to complete each day are not               5        Q.    Okay. And then the next instruction
 6   limited to any particular time frame, correct?          6   here, we see familiar language, which is "If you
 7       A.    I agree that it does not say that             7   answer yes to any questions do not come in." Do
 8   there is a limited time frame on this                   8   you see that?
 9   instruction.                                            9        A.    I do see that.
10       Q.    And so you would agree then that t he        10        Q.    All right. And last is the
11   phrase "each day" means what it says, that l'<brse     11   instruction if you answer yes, quote, you will
12   staff must complete this form on a recurring           12   be contacted, end quote, correct?
13   basis for each calendar day that they plan to          13        A.    Yes . It says "and you will be
14   enter the building continuing into the future,         14   contacted. "
15   correct?                                               15        Q.    So you would agree that this Health
16             MR. RUSHFIELD : Objection to form.           16   Check form explicitly instructs those filling it
17       A.    I agree that it says -- it asks to           17   out that they will be contacted regarding the
18   complete each day prior to arriving at l'<brse         18   Health Check form if they answer any question
19   Elementary School.                                     19   affirmativel y, right?
20       Q.    Okay. What do you understand the             20        A.    I agree that this Heal th Check form
21   phrase "each day" to mean?                             21   says that, yes.
22       A.    Each day is each single day .                22        Q.    Okay. And I'm just going to sarewhat
23       Q.    And would that continue -- would each        23   slowly scroll through so you can see everything
24   day continue without limit into the future?            24   else, and then I 'm going to ask you another
25             MR. RUSHFIELD: Objection to form.            25   question.

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                                               Page 110                                                      Page 111
 1             Looking through the rest of this            1   Health Check survey must be completed."
 2   Health Check form in Exhibit 6, there are no          2       A.     The Morse Health Check survey was not
 3   further instructions provided in this form about      3   the Health Check survey that I referred to in
 4   seeing a doctor or taking sick days, correct?         4   this paragraph, "The Health Check survey must be
 5        A.   Correct. I do not see any                   5   completed no earlier than two hours before
 6   instructions about seeing a doctor.                   6   entering the building. "
 7        Q.   Is it your understanding that the           7       Q.     All right. And is it true that when
 8   Health Check form shown in Exhibi t 6 is not the      8   you issued the welcome back memorandum, Exhibit
 9   Health Check survey that was referred to in           9   3, you were not even aware that the Morse Staff
10   paragraph 2 of Exhibit 3, the welcome back memo?     10   Health Check survey shown in Exhibit 6 existed?
11       A.    Could you repeat that question?            11       A.     Correct . I did not know that the
12       Q.    Sure. Is it your understanding that        12   Morse Health Check survey existed when I wrote
13   the Health Check survey shown here in Exhibit 6      13   the welcome back letter.
14   is not the Health Check survey referred to in        14       Q.     Okay. And Exhibit 3, the welcane back
15   paragraph 2 of Exhibit 3?                            15   memorandum, doesn't actuall y attach the contents
16             MR. RUSHFIELD: I think the witness         16   of either of the Health Check surveys that we
17       should probably take a look at paragraph 2       17   have l ooked at, Exhibit 5 or Exhibit 6, correct?
18       of Exhibit 3 before answering this question.     18       A.     Correct. The letter does not attach
19       Q.    Do you have that up, Dr. Wade, or          19   the Health Check survey in the letter.
20   should I --                                          20       Q.     And there is no link in the letter in
21       A.    That was my letter, correct?               21   Exhibit 3 that if clicked on, would take the
22       Q.    Correct .                                  22   reader to either of the Health Check surveys in
23       A.    I ' m sorry. Which paragraph of the        23   Exhibit 5 or Exhibit 6, correct?
24   letter?                                              24       A.     Correct . I do not see a link that was
25       Q.    Paragraph number 2 that begins, "The       25   in the letter to --
                                               Page 112                                                     Page ll3
 1       Q.      Sorry. Didn't mean to cut you off .       1       A.      Yeah, I see it . "Your email
 2       A.      - - to take them to the Health Check      2   address - - " it has Carol Melton's email address
 3   survey.                                               3   " - - will be recorded when you submit this form. 11
 4       Q.      Would you agree that the only             4         Q.    Do you know where that information is
 5   instruction regarding accessing the Health Check      5   recorded? J
 6   survey projded in Exhibit 3 is the last               6               MR)_ RUSHFIELD: Which information are
 7   sentence of the first bullet point under              7         you referring to?
 8   paragraph 2, which reads, quote, The link will        8         Q.    Do you know where the email addresses
 9   be found on your school building web page, end        9   that are recorded per this instruction are
10   quote?                                               10   saved?
11       A.      Correct.                                 11         A.    I do not know. I would expect -- I do
12       Q.     Then very quickly, I want to look at      12   know that Ms. Penn was the creator of it, so I
13   this second paragraph in the instructions for        13   would expect that she would have access to it .
14   Exhibit 6. It says, quote, Your email address,       14         Q.    Do you know of anybody else who might
15   and then it has Ms. Melton ' s email, will be        15   have access to that information?
16   recorded when you submit this form, end quote.       16         A.    The way the system works it would --
17   Do you see that?                                     17   only if you gave them access, so if Ms. Perm
18       A.     We're on the Morse Health Check           18   gave someone else access to this form, then they
19   survey?                                              19   would have access. Otherwise they would not.
20       Q.     Correct, Exhibit 6 .                      20         Q.    Does Ms . Penn still work for the
21       A.     Right. You're screen sharing this, so     21   Poughkeepsie City School District?
22   I can't m::>ve it up and down.                       22         A.    She does.
23              MR. RUSHFIELD: It's the second            23         Q.    So if she created this form and she
24       paragraph at the beginning that he's             24   had access to it, then the school district would
25       referring to.                                    25   still be able to access that information,

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                                                Page ll4                                                    Page 115
 1   correct, that was saved when these forms were          1       Q.     When you say "the focus ," what do you
 2   submitted?                                             2   mean by that?
 3       A.     Correct.                                    3        A.    The concern that was expressed. Could
 4       Q.     Have you personally or had anyone else      4   you repeat the question?
 5   investigated to see whether Ms. Melton's email         5        Q.    Sure. I'll take a few steps back, and
 6   address was recorded for the days that she             6   we 'll try this from a slightly different angle .
 7   allegedly did not complete the Heal th Check form      7              When Ms . Dargan first reached out to
 8   to see if her email was recorded in association        8   you regarding Ms. Melton's lack of physical
 9   with the Morse Staff Heal th Check form shown in       9   presence in the building, did you check to see
10   Exhibit 6?                                            10   if she had been filling out the Poughkeepsie
11              MR. RUSHFIELD: Objection to form.          11   City School District Health Check form?
12       A.     I have not looked to see if Ms. Melton     12        A.    No.
13   completed the form.                                   13        Q.    Did you instruct anyone to check and
14       Q.    That would be relevant to determining       14   see if she had been filling out the Poughkeepsie
15   why she was not coming into the building;             15   City School District Health Check form?
16   wouldn't you agree?                                   16        A.    No.
17             MR. RUSHFIELD: Objection to form.           17        Q.    Okay. So I'm goi ng to stop sharing my
18       I'm not quite sure what you're referring to       18   screen here for a moment.
19       in the "why. "                                    19              See if you can open this exhibit .
20             MR. CARMAN: Well, if the witness            20   This is Exhibit 7. It's a document titled
21       understands the question --                       21   "Charges Against Ms. Carol Melton Pursuant to
22             MR. RUSHFIELD: You have my objection.       22   Section 3020-a of the New York Education Law. "
23       A.    The focus was not on Ms. Melton             23              (Plaintiff's Exhibit 7 was
24   completing the form or not completing the form .      24              marked for identification.)
25   It was on her not physically coming to work.          25        A.    Yes, I see it.
                                                Page 116                                                    Page 117
 1             MR. RUSHFIELD:     Give me a moment.         1   hours before entering the building and reporting
 2        I've got to open it. I'm good to go.              2    for duty." Do you see that?
 3        Q.    Okay. I'm going to direct -- have you       3        A.     Yes.
 4   seen this document before?                             4        Q.     And on the top of the next page, under
 5              MR. RUSHFIELD: Take a look at the           5   Specification 2, it reads, "As of October 22,
 6        whole thing.                                      6   2020 , the District has no record of Ms. Melton
 7       A.     Yes.                                        7   sul::mitting a Health Check form on any date for
 8       Q.     And what is this document?                  8   any District building. " Do you see that?
 9              MR. RUSHFIELD: Dr. Wade?                    9        A.     Yes.
10              MR. CARMAN: I think he's reviewing         10        Q.     So my question for you is how do you
11        it.                                              11   support the allegation of Specification 2 if you
12              MR. RUSHFIELD: The outstanding             12   never had anyone check to see if Ms . Melton
13       question is what is this document.                13   completed Health Check forms on the dates that
14       A.     These are the charges against Ms.          14   she allegedly was not in the building?
15   Carol Melton pursuant to Section 3020-a of the        15               MR. RUSHFIELD: Objection to form .
16   New York State Education Law.                         16        He's not the signatory to the charges.
17       Q.     I ' d like to direct your attention to     17        Q.     Dr. Wade, did you prepare this
18   Charge 5, which is at the bottom of page 2. Do        18   document?
19   you see that?                                         19        A.     No.
20       A.     Yes.                                       20        Q.     Who did?
21       Q.     And under Specification 1, the             21        A.     The attorney.
22   document reads, "In the September 3, 2020             22        Q.     What attorney?
23   'Welcome Back Letter,' Assistant Superintendent       23        A.     Kate Reid. We certainly did at some
24   Wade also directed all employees to complete a        24   point look as to whether Ms. Melton completed
25   'Healt h Check survey' daily, no earlier than two     25   t he Health Check survey form. But it wasn't

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                                                Page 118                                                    Page 119
 1   when you asked me the first week in September.         1             MR. RUSHFIELD:   Take a look at Exhibit
 2       Q.     I don't believe my question was             2        5 since we've had two different surveys
 3   specifically limited in time to when the request       3        shown to the witness.
 4   was submitted . But I' 11 ask the question again.      4        A.    It would have been the distr ict one.
 5             Did you ever at any point in time ask        5        Q.    I can represent to you that it is the
 6   someone to check to see whether Ms. Melton had         6   district one , although if you want me to share
 7   submitted Health Check forms on any date?              7   it, I'm happy to do that.
 8       A.    Yes. I asked Ms. Giangreco to check          8        A.    No. We only looked at the district
 9   the Health Check forms at sane point.                  9   form .
10       Q.    When was that? Do you recall?               10        Q.    Okay. But you recentl y became aware
11       A.    It was definitely later October or          11   t hat there is a different Health Check survey
12   early November.                                       12   specific to Morse School; is that correct?
13       Q.    So in ear1y November, you asked Ms.         13        A.    Correct.
14   Giangreco to check to see whether Ms. Melton had      14              MR. RUSHFIELD: Object to form.
15   submitted Health Check forms at any point in          15        Q.    When you learned that this second
16   time; is that right?                                  16   Health Check survey particul ar to Morse School
17       A.    Correct .                                   17   existed, have you since gone back or had anyone
18       Q.    Okay. And the results of that               18   go back to see if Ms. Melton -- if there ' s a
19   investigation were that she had not; is that          19   record of Ms. Melton submitting responses to
20   right?                                                20   that Health Check survey on the days that she
21       A.    Correct.                                    21   was not in the building?
22       Q.    And is it your understanding that the       22        A.    Ms. Reid, who is the attorney for the
23   limits of that investigation pertained to             23   district, has been in conmunication with the
24   whether Ms. Melton had completed the Health           24   tech department to see that. I did not do that
25   Check survey in Exhibit 5?                            25   directly.
                                                Page 120                                                    Page 121
 1        Q.    Okay. I just want to go back quickly        1        Q.     Right. For this specification, i s it
 2   to Charge 5 in Exhibit 7 and Specification 2           2   the school district's position that the only way
 3   where it says "the district has no record of Ms.       3    in which Ms. Mel ton failed to report for duty is
 4   Melton submitting a Health Check form on any           4   t hat she did not physically show up at Morse
 5   date for any District building. " Is it fair to        5   Elementary School on September 9th?
 6   say that that statement is based solely on the         6        A.     Correct.
 7   investigation into the di strictwide Health Check      7        Q.     The school district is not contending
 8   form and does not include any information              8   that Ms. Mel ton failed to complete any other
 9   related to the Morse Health Check form?                9   responsibili ties other than failing to
10       A.     Correct.                                   10   physically show up to school, correct?
11       Q.     Okay. So I'd like to keep looking at       11               MR. RUSHFIELD : You mean on September
12   Exhibit 7 , but we are going to switch gears back     12        9 , 2020 as per Specification 2?
13   to Charge 1. That ' s on the first page . And         13               MR. CARMAN: Yes.
14   specifically I will direct you to Specification       14        A.     Our contention is that she did not
15   2, which reads, "On September 9, 2020, Ms.            15   physically show up to work, correct.
16   Melton failed to report for duty at Morse             16        Q.     And your contention is limited to that
17   Elementary School as directed by Assistant            17   she did not physically show up for work,
18   SUperintendent Wade." Do you see that?                18   correct?
19       A.     I apologize . I had to pull it up.         19        A.     She did not physically show up to
20   Which charge?                                         20   work, correct.
21       Q.     Sure . Charge 1, Specification 2.          21        Q.     Okay. And just very quickly, I had
22       A.     "On September 9, 2020, Ms. Melton          22   t he same question as to Charge 2, Specification
23   failed to report for duty at Morse Elementary         23   2, and so I'll ask the question this way, but if
24   School as directed by Assistant Superintendent        24   I need to go ask them the long way, I can.
25   Wade."                                                25               Would your answer be the same as to

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                                                Page 122                                                    Page 1 23
 1   Charge 2, Specifi cat ion 2, that the district's       1   remotely for a period of time. I did not
 2   contentions are limited to the fact that Ms .          2   specifically ask them about those t hree specifi c
 3   Melton did not physically show up at Morse             3   dates .
 4   School on September 10th?                              4        Q.    Could you identify who those teachers
 5       A.     Cor rect .                                  5   were that you l earned this information from?
 6       Q.     And would that be the same for Charge       6        A.    Ms. craig was one of the teachers . I
 7   3, Specification 2 with respect to September           7   can 't think of the other teacher r ight now, but
 8   11th?                                                  8   there were only two.
 9       A.     Correct.                                    9        Q.    Did you or Ms. Dargan ever ask Ms.
10       Q.     Are you aware whether Ms . Melton          10   Melton if she had been filling out t he Health
11   performed her duties as a teaching assistant          11   Check forms during the fall semester of the
12   remotely on September 9th, 10th and 11th?             12   ' 20-21 school year?
13       A.     I'm not aware.                             13              MR. RUSHFIELD: Can you reask the
14       Q.     Did you ask anyone whether she did?        14        question in one piece, please?
15       A.     I know that Ms. Dargan assigned her to     15              MR. CARMAN: Sure.
16   two classes for a short period of time.               16              MR . RUSHFIELD: Thank you .
17       Q.     Did you ask the teachers of those          17        Q.    Did you or Ms. Dargan ever ask Ms.
18   classes if Ms . Melton was participating              18   Melton if she had been filling out the Health
19   remotel y?                                            19   Check forms during the fall semester of the
20       A.     I have since asked those teachers          20   '20 -21 school year?
21   whether she was reporting remotely.                   21              MR. RUSHFIELD: Objection to form.
22       Q.     And what did those teachers tell you       22        You can -- if you know the answer, if you
23   about whether Ms . Melton was participating           23        have an answer, you can provide it.
24   remotely on September 9th, 10th and 11th?             24        A.    I did not ask her if she had been
25       A.     They described t hat she was reporting     25   fill ing out the Healt h Check form.
                                                Page 124                                                   Page 125
 1       Q.     Do you know if Ms. Dargan asked her?        1              MR. CARMAN:   We  are going to go off
 2       A.     I do not !mow if Ms. Dargan asked her.      2       the record at 1:02, and we'll plan to be
 3       Q.     Other than pulling the records              3       back at 1:07.
 4   associated with the school district Health Check       4                      (Recess taken.)
 5   form of Exhibit 5, did you perform any          )      5 BY MR. CARMAN:
 6   additional investigation to determine whether)          6      Q.    All right. I'm going to mark the next
 7   Ms. Melton had been submitting Health Check            7   exhibit, Exhibit 8.
 8   forms on any date?                                     8              (Plaintiff's Exhibit B was
 9       A.     I did not .                                 9             marked for identification . )
10       Q.     Okay. Did you ever ask anyone if           10             MR. RUSHFIELD: I have it. Do you
11   there were any other Health Check forms in            11       have it, Dr. Wade?
12   existence other than the district Health Check        12             THE WITNESS: Yes.
13   form of Exhibit 5?                                    13       Q.    All right. Have you seen this
14       A.     I did not.                                 14   document before, Dr. Wade?
15              MR. CARMAN: So we will put aside           15       A.    Yes.
16       Exhibit 7 now.                                    16       Q.    And what is it?
17              Dr. Wade, if it ' s okay with you, I       17       A.    It ' s a directive for Ms. Melton to
18       would like to take a very quick five -minute      18   attend a 913 exam.
19       bathroom break and come back quickly.             19       Q.    This is an email , correct?
20             MR. RUSHFIELD: Actually, I join in          20       A.    Correct.
21       the request.                                      21       Q.    Sent from you to Ms. Melton?
22             MR. CARMAN: So I'm going to go on           22       A.    Correct .
23       mute now, and I'll let the reporter give us       23       Q.    And it's dated January 20th, right?
24       the time.                                         24       A.    Correct.
25             THE REPORTER: I have 1:02 .                 25       Q.    In the first paragraph of this emai l,

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                                                 Page 126                                                  Page 127
 1   it says "the District's Board of Education has          1   to the enclosed resolution. Did you see that?
 2   ordered you t o attend a medical examination            2        A.    Yes , I do see that.
 3   pursuant to Section 913 of the New York                 3              MR. CARMAN: All right. So I 'm going
 4   Education Law. " Do you see that?                       4        to go ahead and circulate Exhibit 9.
 5       A.    Yes.                                          5        Everybody let me know when they have it
 6       Q.    What is a Section 913 medical                 6        pulled up.
 7   examination?                                            7               (Pl aintiff's Exhibit 9 was
 8       A.    It's a procedure where public schools         8              marked for identification.)
 9   can direct public employees can be examined by          9              THE WITNESS: This one, I can ' t for
10   the district physician or a physician chosen by        10        whatever reason.
11   the district.                                          11        Q.    I'll screen share it. Do you see it
12       Q.    Why would the district order an              12   okay?
13   employee to be examined by a physician?                13        A.    Yes, I can .
14             MR. RUSHFIELD: Objection. Are you            14        Q.    All right. I 'll just quickly scroll
15       asking about this particular employee, or          15   down so you can see the entire document. Have
16       are you asking as a general statement why          16   you seen this doetnnent before?
17       the Board of Ed. might do that?                    17        A.    Yes.
18             MR . CARMAN: In general.                     18        Q.    What is this?
19             MR . RUSHFIELD: Okay.                        19        A.    It is the Board resolution to direct
20       A.    There may be attendance issues for           20   Ms . Melton to the 913 examination.
21   example or an employee reporting that they're          21        Q.    Is the Board resolution shown in
22   not able to do a portion of their duty . There         22   Exhibit 9, is this the resolution that was
23   would be a variety of reasons why an employee          23   referred to in the first paragraph of Exhibit 8?
24   may need to go to a 913 examination .                  24        A.    Correct .
25       Q.    The first paragraph here also refers         25        Q.    Exhibit 9 refers to Employee Number
                                                 Page 128                                                  Page 129
 1   2462.    Do you   see that?                             1       A.    Correct.
 2       A.     Yes.                                         2       Q.    Does anything in Exhibit 9 identify
 3       Q.     Who is Employee 2462?                        3   the designated physician?
 4       A.     Ms. Melton.                                  4       A.     It does not.
 5       Q.     Okay. And Exhibit 9 authorizes the           5       Q.    Does anything in Exhibit 9 say it
 6   superintendent to direct Ms. Melton to submit to        6   authorizes any form of psychiatric evaluation of
 7   a comprehensive medical examination and                 7   Ms. Melton?
 8   evaluation, correct?                                    8       A.     It does not .
 9       A.     Correct.                                     9       Q.    So I 'd like you to look back quickly
10       Q.     And in the second paragraph of Exhibit      10   at Exhibit 8. I ' m going to stop my share for a
11   9, it directs Ms. Melton to submit her medical         11   moment here. Please look at the second
12   records for the past two years to the employee         12   paragraph of Exhibit 8 which reads --
13   designated physician, correct?                         13             MR. RUSHFIELD: Bear with me a minute.
14       A.     Correct.                                    14       I have to reopen it .
15       Q.     Okay.                                       15       Q.    There is going to be a little bit of
16              MR. RUSHFIELD: I'm sorry. Did you           16   jumping around here just because Exhibit 8
17       say the "employee designated physician"? I         17   directs the conversat ion to other dOClUllents.
18       think that's what you said.                        18             MR. RUSHFIELD: Do you have Exhibit 8,
19              MR. CARMAN: Oh, that is what I said         19       Dr. Wade?
20       because that's what's in my notes. I will          20             THE WITNESS: That is the letter, yes.
21       restate that question .                            21       Q.    Okay. The email?
22       Q.     The second paragraph of Exhibit 9, it       22       A.    The email, yes.
23   directs Ms. Melton to submit her medical records       23             MR. RUSHFIELD: Go ahead, Counsel.
24   for the past two years to the district                 24       Q.    Please look at the second paragraph of
25   designat ed physician, correct?                        25   Exhibit 8, which reads, "You are directed to

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                                                Page 130                                                   Pag e 131
 1   cooperate with the Dis trict's assigned medical        1   inf ormation are you referri ng to?
 2   examiner, Dr. James, in order to complete this         2        A.    Dr . Soha' s contact infonnation.
 3   examination as soon as possible. Dr. Soha ' s          3        Q.    So you gave Dr. Soha's contact
 4   staff will be reaching out to you to schedule          4   information to Ms . Reid, correct?
 5   this examination in the coming days. " Do you          5        A.    To Ms. Ccrnbier, who was Ms. Melton's
 6   see that?                                              6   advocate .
 7       A.     Yes.                                        7        Q.    To be clear, this email, Exhibit 8,
 8       Q.     You identified two different names for      8   informs Ms. Melton that Dr. Soha will be
 9   the doctor here, correct, Dr. James and Dr.            9   contacting her, correct?
10   Soha?                                                 10        A.    Yes.
11       A.     Yes.                                       11              MR. RUSHFIELD: Or his staff.
12       Q.     And you info:rmed Ms. Melton that it       12        Q.    Or his staff, yes. Someone on his
13   will be Dr. Soha that will be reaching out to         13   behalf will be contacting Ms. Melton.
14   her, correct?                                         14              Why did you provide Dr. Soha's contact
15       A.    Correct.                                    15   information to Ms. Reid to provide to Ms. Melton
16       Q.    Do you know if Dr. Soha ever reached        16   and Ms. Combier if Dr. Soha was tasked or Dr.
17   out to Ms. Melton?                                    17   Soha's staff was tasked with contacting Ms.
18       A.     I do not believe that he did, no.          18   Melton t o schedule the examination?
19       Q.    Did you provide Ms. Melton's contact        19        A.    Subsequently, it hadn't happened and
20   information to Dr. Soha?                              20   there was some conversations that occurred
21       A.     I did at sane point later and also         21   between Ms. Ccrnbier and Ms. Reid. And to
22   gave the information to Ms. Melton's advocate         22   facilitate it, we, you know, provided that
23   through Ms . Reid. I gave it to Ms. Reid . Ms.        23   information to her.
24   Reid gave it to the advocate.                         24        Q.    We'll dig into that a little more in
25       Q.    When you say "the infonnation," what        25   just a few minutes, but while we've got Exhibit
                                               Page 132                                                    Page 133
 1   8 up here, I want to look at the last paragraph,       l       A.     I don't think that I personally typed
 2   which reads, "Also enclosed with this letter is        2   it in. One of my secretaries would, but I don't
 3   a medical release. Please execute the release          3   remember.
 4   and return to me no later than January 27, 2021        4       Q.     Do you know which secretary would have
 5   to ensure that there is no delay in the                5   done that?
 6   completion of your Section 913 examination. " Do       6       A.     It would have either been Barbara
 7   you see that?                                          7   Williams or Deanna Singleton.
 8       A.    Yes.                                         8       Q.     Did you speak to your secretary,
 9       Q.    All right . I'm going to share Exhibit       9   either one, about their preparation of this
10   10. It should be coming through.                      10   document in preparation for this deposition?
11              (Plaintiff's Exhibit 10 was                11       A.     I did not.
12             marked for identification.)                 12       Q.     Did you provide instructions to your
13       A.    I see it.                                   13   secretary to fill out this document at the time
14             MR . CARMAN: Mark, do you have it up?       14   that the information was completed?
15             MR. RUSHFIELD: I do .                       15       A.     Yes, I would have done that at the
16       Q.    Okay. Have you seen Exhibit 10              16   time .
17   before?                                               17       Q.     Did you review the information in this
18       A.    Yes.                                        18   document prior to sending it to Ms. Melton?
19       Q.    What is Exhibit 10?                         19       A.     Yes, I would have reviewed it.
20       A.    It is the authorization for the use         20       Q.     Okay. So I want to direct your
21   and disclosure of information. It's a release.        21   attention first to the first paragraph where it
22       Q.    Is this the medical release that was        22   reads, "I, Carol Melton, the undersigned,
23   referred to in the last paragraph of Exhibit 8?       23   authorize the use and/or disclosure of my
24       A.    Correct.                                    24   Protected Health Information (PHI) as described
25       Q.    Did you prepare this document?              25   below . " Do you see that? Do you see that, Dr.

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                                                Pag e 134                                                      Page 135
 1   Wade?                                                   1   checked on t he document , right ?
 2       A.      I do.                                       2        A.    I do .
 3       Q.      You must have cut out for a moment.         3        Q.    Was i t your int ention t hat t he 913
 4   Did Ms . Me lton ever sign and ret urn this             4   examination that was order ed be a psychologi cal
 5   document to you?                                        5   examination of Ms. Melton?
 6       A.     No, Ms . Melton did not ever sign or         6        A.    It was --
 7   return this document to me .                            7                (Technical interruption . )
 8       Q.     All right. Irrmediat ely under the           8        Q.    I'm sorry . Could you say t hat again?
 9   first paragraph is a double horizontal line and         9   There was some background noise.
10   the words "Psychotherapy Notes." Do you see            10        A.    It was not my i nt ention that thi s be a
11   that?                                                  11   psychotherapy evaluation .
12       A.      I do.                                      12        Q.    And according to the instructions
13       Q.     And t hat section in full reads,            13   adjacent to the psychotherapy notes designation,
14   "Psychotherapy Notes: Check here if this               14   i t makes clear that if that box is checked, that
15   authorization is for psychotherapy notes. If           15   the authorization cannot be used for any other
16   so, this aut horization cannot be used for any         16   purpose; is that right?
17   other purpose if Psychotherapy Notes is                17        A.    That's correct . That is what it says.
18   checked." Do you see that?                             18        Q.    Why is "Psychotherapy Notes" checked
19       A.     I do see that.                              19   in Exhibit 10?
20       Q.     And to the left are the words               20        A.    That would have been an error.
21   "Psychotherapy Notes" in bold and underlined.          21        Q.    You had no reason to bel ieve that Ms.
22   There's an X. Do you see that?                         22   Melton required psychiatric evaluation to
23       A.     I do.                                       23   perform her job, correct?
24       Q.     And you would agree that the X symbol       24        A.    Correct . That was not an issue.
25   indicates that the psychotherapy notes is being        25        Q.    Okay. So when you sent Exhibit 10 to
                                                Page 136                                                      Page 137
 1   Ms. Melton, is it fair to say that you did not          1       A.      Correct .
 2   realize that psychotherapy notes had been               2        Q.     Did Ms . Melton or anyone on Ms.
 3   checked and that that precluded the                     3   Melton ' s behalf contact you regarding confusion
 4   authorizat ion from applying to any other types         4   around the vari ous names that had been provided?
 5   of information?                                         5        A.     Ms. Reid worked with Ms. Combier
 6       A.      Correct.                                    6   regarding that issue .
 7       Q.      All right. Let's move down Exhibit 10       7        Q.     So we're going to get to that, but I
 8   to numbered paragraph 2, which is entitled              8   want to reask my question to just make sure I
 9   "Persons Authorized to Disclose PHI." Do you            9   get an answer to this question .
10   see that?                                              10               Di d Ms . Melton or anyone on Ms.
11       A.      I do see that .                            11   Melton's behalf contact you regarding confusion
12       Q.      And below that, it says "Name,"            12   around the various names that had been provided?
13   there ' s a colon, and the name entered is Jose        13        A.     I do not remember that Ms. Melton
14   Soha, MD . Do you see that?                            14   contacted me di rectly.
15       A.      I do see that.                             15        Q.     Very quickly, I want to circle back to
16       Q.      And would you agree that between the       16   the preparation of Exhibi t 10. I believe you
17   email that you sent to Ms. Melt on, which is I         17   testified before that you think one of your
18   believe Exhibit 8, and this document, Exhibit          18   s ecretaries filled out the information in
19   10, there have been three different names              19   Exhibit 10; is that right?
20   provided for the doctor who is designated to           20        A.     Correct .
21   perform the 913 medical examination?                   21        Q.     Okay. And Exhibi t 10 includes Ms .
22       A.      Yes.                                       22   Melt on's Social Security number; i s that right?
23       Q.      And those names, just for the record,      23        A.     Correct.
24   are Dr. James, Dr . Soha, and Jose Soha, MD,           24        Q.     In general , are s ecretaries permitted
25   correct?                                               25   to have access to employees' identif ying

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 1   information such as a Social Security number?          1              That ' s the end, so I will ask my
 2       A.     Yes. 1'he confidential secretaries in       2   question again . Do you recognize this email ,
 3   human resources do have access to that                 3   Dr. Wade?
 4   information.                                           4        A.    Yes.
 5       Q.    Are either of these secretaries that         5        Q.    And it ' s addressed to you, correct ,
 6   you identified, are either of them a                   6   wher e it says, "Dear Dr. Wade"?
 7   confidential secretary in human resources?             7        A.    Correct.
 8       A.    They are both confidential secretaries       8        Q.    I 'm going to go down to page 5 of the
 9   in human resources.                                    9   exhibit , and I 'm going to put the paragraph at
10       Q.    I'm going to mark Exhibit 11.               10   the top that begins "You mentioned." Do you see
11              (Plaintiff's Exhibit 11 was                11   where I'm talking about?
12             marked for identifi cation.)                12        A.    Yes.
13       Q.    Do you have Exhibit 11 open, Dr. Wade?      13        Q.    Exhibit 11 states , "You mention a 'Dr.
14       A.    It seems like every other one gives me      14   James• in your email, yet I do not see any
15   a problem. Okay.                                      15   information about this person and no contact
16       Q.    Would you like me to screen share it?       16   information has been given to me. At no time
17       A.    That would be faster.                       17   has either Ms. Melt on or I received any
18       Q.    Can you see it okay?                        18   comnunication from Dr. Jose Soha's staff.• Did
19       A.    Yes.                                        19   I read that correctly?
20       Q.    All right. So we're looking at              20       A.     Yes.
21   Exhibit 11, which is an email from Betsy Combier      21       Q.     Do you recall from your email to Ms.
22   to someone designated as Timothy, somebody            22   Melton that was shown in Exhibit 8 that Dr.
23   designated as me and somebody designated as           23   Soha's staff would be reaching out to Ms. Melton
24   Carol. Have you seen this before? I will              24   to schedule the 913 examination?
25   scroll through so you can get a good look at it.      25       A.     Correct.
                                                Page 140                                                   Page 141
 1       Q.     But here Ms. Combier is informing you       1   and the date on which Ms. Combier informed you
 2    that that never happened, correct?                    2   that that had not happened on February 16th, a
 3        A.    Correct.                                    3   little over three weeks had passed, correct?
 4        Q.    And do you recall the date of the           4       A.      Correct.
 5   email in Exhibit 87                                    5       Q.      Prior to Ms . Combier's email on
 6        A.    I don't . I believe it was                  6   February 16th shown in Exhibit 11, had yru
 7   January 19th, but I'm not a hundred percent            7   contacted Dr. Soha to inquire as to whether he
 8   positive.                                              8   had contacted Ms. Melton to schedule the
 9        Q.    Do you have it pulled up, or would you      9   examination?
10   like me to --                                         10       A.      I don' t believe I did, no --
11        A.    It would be easier for you.                11       Q.      After - - sorry. You can finish your
12        Q.    I will do that then. Now we are            12   answer.
13   looking at Exhibit 8. So I will just ask the          13       A.      I don' t believe I did then.
14   question. Looking at Exhibit 8, what is the           14       Q.      Okay. After Ms. Combier's email on
15   date in which you informed Ms. Melton that Dr.        15   February 16th, did you reach out to Dr. Saha to
16   Soha's staff would be reaching out to her to          16   inquire as to why he had not contacted Ms.
17   schedule the 913 examination?                         17   Melton to schedul e the 913 examination?
18        A.    January 20th.                              18       A.      I had some email exchanges with him.
19       Q.     I'm going to switch back . We're           19   And at some point, I provided his information to
20   looking again now at Exhibit 11. And what is          20   Kate Reid, who gave it to Ms. Combier. 'lb.ey had
21   the date on Exhibit 11?                               21   conversations, Ms . Combier and Kate Reid.
22       A.     February 16th.                             22       Q.     Okay . I'm going to direct you now to
23       Q.     So between the time that you initially     23   the next paragraph of Exhibit 11 following- the
24   told Ms. Melton that Dr. Soha ' s staff would be      24   one that we just looked at that begins, 1 So, I
25   reaching out to schedule the 913 on January 20th      25   called -- "

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